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                             Declaration of Tobin M. Gilman

        “My name is Tobin "Toby" M. Gilman, my date of birth is October 28, 1960 and my
residential address is 1910 Pavia Court, Arlington, Texas 76006. I am over twenty-one years of
age. I declare under penalty of perjury that the following statements are true and correct.”

1. I am the owner of Black 13 Enterprise, Inc., a corporate entity that owned a franchise of TFL
Franchise Systems, LLC.

2. From August through October of 2018, I began a discussion with Geoff Batchelder,
Franchise Development Consultant for TFL Franchisor. The discussion included the history of
the Flying Locksmiths, the availability of open territory in the Dallas-Fort Worth metroplex area,
the TFL Franchise Disclosure Document, and territory mapping, which included the discussion
of the cost of exclusive territories of varying population size. In three separate online mapping
discussions with George, it was clear to me that the territory a person bought was the territory
and accompanying population that was specified in the purchase—nothing more, nothing less.
The three other existing territories in DFW at that time were discussed in these mapping
discussions, and I was told that, “while other owners have been ‘working in’ my proposed
territory,” up to this point, my purchase would preclude them from doing so after I signed my
Franchise Purchase Agreement. In addition, neither Batchelder nor any TFL Franchisor agent
informed me during the purchase decision process that, “any unowned territory in the areas
adjacent to my exclusive territory would generate leads, and hence more available work,” by
assignment to the nearest owned franchise territory owner.

3. I performed due diligence regarding the TFL Franchise and the requirements to operate a
locksmith business in Texas. After learning of the regulatory hurdles, I learned that I would need
assistance because I was not licensed to operate without oversight by a licensed, qualified
manager, as codified by Texas DPS licensing rules. During Discovery Day, Batchelder and other
agents of the TFL Franchisor, specifically Buzz, Brett, and Barry McMenimon, assured me that
they could assist with these matters, thus promising a State of Texas DPS approved and licensed
overseer that could ensure a fast start up in a manner that met all Texas locksmith licensing
requirements. In fact, on Discovery Day, potential owners from three different states were told,
“not to worry about meeting licensing requirements in your particular state, as we have helped all
previous new owners who required such, and it’s no big deal. We’ll get you all properly
licensed.”

4. On October 24, 2018, discussions between TFL Franchisor agents and I led to my decision to
purchase a TFL Franchise, covering a portion of the DFW area. I signed the contract on October
24, 2018 (“Franchise Agreement”), paying an initial $20,000 deposit, and then the remainder of
the purchase price totaling $159,780, upon obtaining adequate financing in December of 2018.

5. Batchelder and TFL Franchisor agents, including the McMenimons and Steve Quinn, never
revealed a material fact regarding the unavailability of any licensing slots in the State of Texas,
nor did they share anything about the very lengthy process to obtain licensing under the Texas
Department of Public Safety and obtaining the rights to legally open a locksmith business in
Texas. I was instead led to believe that the process of getting licensed would be minor and easily
achieved.
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6. Batchelder also withheld key information about TFL Franchisors’ lead assignment policies. I
could have purchased a much smaller assignment and still enjoyed first rights to all leads in the
southern half of DFW based upon TFL Franchisor’s lead assignment policies. I was led to
believe that the only way I would receive adequate leads was to purchase a much larger, and
correspondingly more expensive, territory than I truly needed. After I paid for the territory and
was receiving training in Braintree, Massachusetts, around March 24, 2019 I learned that I would
have received the leads I needed irrespective of whether I had paid for the territory, because my
purchased area would have been the closest to the unclaimed areas where the leads originated. It
was one of the very first actions that COO Brett McMenimon took during my training week to
provide me with a map of all the zip codes (outside, but adjacent to my purchased territory),
which the TFL call center would direct to me, as locksmith needs arose. TFL Franchisor benefits
greatly from such an arrangement, as they can represent to new clients that TFL can service
them, and as such, TFL gains access to an even larger source of potential franchise fee payments.
Upon realization that if TFL Franchisor had told me this at the outset of my purchase decision, I
could have purchased a much smaller territory bordering the southern edges of each of the three
existing DFW based franchises, and still obtained all of the adjacent zip codes that I ended up
paying a substantial sum for in the larger territory that I eventually purchased.

7. After payment of the deposit on October 24, 2018, I was provided with a copy of the Flying
Locksmiths’ Operation Manual. On pages 12-18, there is a very specific pre-opening checklist
outlining a series of sequential steps for me to execute in order to open my territory for business
within 12-14 weeks, at the outside. I worked very diligently to attempt to open by January 1,
2019, and prepared an annual budget for 2019, based upon that goal and as required by United
Midwest Savings Bank, my SBA Loan processor.

8. Step six of the “Week One” to-do list from the Flying Locksmiths’ Operation Manual
included a line item that simply stated, “Obtain State Required Locksmith License (if
applicable).” There was no mention in the Operation Manual, or corporate presentations, that
TFL Franchisor was limited in the number of franchise owners it could assist through the
licensing process in the State of Texas, nor were any of the many steps necessary to becoming
licensed as a locksmith in Texas detailed, or even outlined. The Operation Manual was
comprehensive in most other regards, including elaborate details like how many paperclips or
pencils or sheets of paper to buy for my new office, or every single item that was required to be
purchased in the initial office inventory and truck inventory—but nothing was spelled out about
licensing steps to be taken in Texas, which TFL Franchisor was extremely well aware of, as they
had helped with the licensing of the nine Texas based franchise owners which preceded my
franchise purchase—some by a number of years. TFL Franchisor agents, principally Brett
McMenimon, as evidenced by several non-urgent and mundane e-mails in December 2018 and
January and February of 2019 along with Batchelder, Director of Sales Steve Quinn, and Buzz
McMenimon in the course of Discovery Day, characterized the licensing process as relatively
mundane drudgery, a process through which TFL Corporate could and would assist me, which
was supported by existing relationships between other TFL franchisees and TFL Franchisor that
I observed.

9. After encountering great difficulty with the process required by the State of Texas to obtain a
locksmith license, I sought assistance from Deb Breen, a TFL franchise owner covering San
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Antonio and Master Franchise Developer for all of Texas, and from TFL COO Brett
McMenimon.

10. On November 1, 2018, I was informed by McMenimon that the complexity of Texas
regulations was a known challenge, and that TFL Corporate had only three individuals who had
passed the Texas DPS licensing exam and obtained the requisite experience to be allowed to
supervise new franchise owners and that each supervisor could oversee a maximum of three
franchise owners. I would be the tenth franchise in Texas to need such assistance, meaning there
was no other licensed and approved supervisor, under Texas law.

11. Upon additional inquiry, I learned that no one at TFL Franchisor could guess when a new
licensing slot would open and be awarded to me so that I could legally open my business when I
had expected and planned, based on the instructions given to me by TFL Franchisor, though I
had paid a considerable sum for the franchise and incurred significant costs and ultimately would
not be able to operate until April 1, 2019, many months longer than expected.

12. From December 15, 2018, through March 22, 2019, Deb Breen sought to have the Texas
DPS certify that she had the requisite number of years of experience in five enumerated
locksmith and private security areas, in order to be licensed in her own right without having to be
under Brett McMenimon’s “management” license. Additionally, Deb Breen was required to pass
the Texas DPS licensing exam. She expressed two major concerns: (1) she would not give up her
subordinate, supervised status under Brett McMenimon until she passed the exam, since her
licensing would lapse within sixty days if she did not pass the exam and was no longer under
Brett’s supervision; and (2) she asked Brett what his “Plan B” was to get me properly and
effectively licensed, should she fail the licensing exam, and therefore could not come out from
under Brett’s supervision, such that an open slot would then be available to me and my related
franchise licensing needs. Brett could not respond with any definitive “Plan B,” so I had to
assume that there was not one contemplated at that time.

13. Because TFL Franchisor had assured me that TFL Franchisor could assist with the regulatory
supervision but did not have sufficient open slots among its supervisors, I was unable to be
supervised, and thus unable to operate legally until April 1, 2019, when Breen no longer needed
TFL’s regulatory supervision, and my franchise could be added to TFL’s list of supervised
franchises in Texas.

14. During this wait, I continued to follow the 12-14 week opening timeline prescribed in the
TFL Operating Manual in order to open my business with an office, employees, inventory, and
purchased vehicles, etc. By January 1, 2019, I had completed every step except the regulatory
hurdle of procuring a valid Texas Private Security/Locksmith license, which I could not obtain
without TFL Franchisor’s oversight, which had been promised but not delivered.

15. Since I could not open until such time, as a space was made in the TFL Franchisor supervisor
matrix. I incurred all the costs of operating a business but was unable to earn income. These
costs included overhead such as my office lease, inventory purchase requirements, van lease
requirements, and payroll in order to keep the experienced technicians I had hired to meet the
requirements of my Franchise Agreement. I was forced to incur more than $80,000 in expenses
in the first quarter of 2019, during which time I could not legally operate.
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16. TFL Franchisor represented that it would assist me with regulatory hurdles, which I
reasonably believed because they had assisted several other Texas TFL franchisees prior to this
time.

17. The TFL Franchisor’s representations were deliberate and incorrect. TFL Franchisor did not
assist me with regulatory hurdles until early 2019, which resulted in an insurmountable loss of
capital.

18. In addition to the licensing misrepresentations, TFL did the following:

19. TFL Corporate violated my exclusive territory by forcing me to work with J Hanging.

20. TFL’s mystery “precedent” (i.e., never was any written nor verbal communication on this
topic provided to me)) of two franchise owners working together on a large project, and one
being designated as the “point person” in a way that gave them complete control over all project
documentation, and most importantly, total control of project payments received, including
distribution of the same.

21. TFL Corporate, upon my informing them of J Hanging’s shoddy and non-compliant work
product, did not modify the work arrangement, control of funds received, and did not inform the
ultimate client, ADT, of all the issues of noncompliance with contract terms at the six
interrelated work projects at issue here. I believe that TFL was very much afraid of this trial
project with ADT going off-track, and then TFL losing a shot at the much larger National
Contractor designation they were undeniably pursuing and ultimately received a few months
after the trial projects were completed.

22. Once I alerted them to the many problems, TFL promised a 50/50 payment split on the six
projects, as well as specific promises of a $20,000 payment, as well as a subsequent payment to
be forthcoming from the TFL Corporate Controller in e-mails sent to me from Steve Quinn. In
addition, I had innumerable direct assurances from Buzz McMenimon, Steve Quinn, and
Meschel Harvey, with respect to having my back with a commitment to see that I would be paid
equitably on all six contracts, as they had the authority to do under the clause of the Franchise
Agreement that gave them full discretion to solve any franchise versus franchise disputes. I fully
relied upon all of these promises and assurances, and kept my franchise going as long as I was
financially able, to my great detriment and ultimate demise.

23. During Steve Quinn’s July 2019 visit to DFW, my one-on-one conversations with him
alerted me to the fact that Steve personally was aware of many, many territory incursions from
one franchise owner into another owner’s territory, including the egregious incursions by Robert
Ferguson as far as half the country removed from his own DFW territory. In addition, the TFL
Corporate job tracking system would show where every single job occurred, and whether it was
in an owner’s territory, or someone else’s territory. Steve verified with me personally, that even
though he and TFL Corporate were aware of this number of incursions, there was no mechanism
to remedy/stop such incursions, much less to penalize any owner for any incursion into any other
owner’s exclusive territory. The Operations Manual was modified in the middle of my dispute
with J Hanging to basically say that exclusive territory meant exclusive territory, and that no
owner could enter another’s territory without explicit permission of the incurred-upon owner.
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Still, there was no enforcement mechanism, nor punishment outlined, should these rules continue
to be violated.

24. Had TFL Franchisor honestly informed me that it could not assist me with the regulatory
hurdles that it had given to nine other franchise owners when I was conducting my due diligence,
I could have delayed the opening of my business to avoid these losses and would not have
suffered the described losses. The result of which has been a complete exhaustion of my capital,
making it impossible for me to continue operations.

25. In early 2019, TFL corporate informed me that my newly minted franchise would be
participating in a pilot project to install locks on behalf of ADT. I initially understood that I
would be working on six job sites for ADT and that my franchise would handle the work alone.

26. All franchise owners affected by this “trial run” project for ADT involving U.S.-based
apartment complexes had been included in numerous calls and e-mails with TFL's Meshel
Harvey, who was coordinating the entire relationship and trial contract with ADT on behalf of
the affected franchise owners (in Dallas/Fort Worth, Tampa, and Memphis, among others). This
discussion did not include any amendment or change from TFL's standard operating procedures
(SOP).

27. From TFL Corporate to each franchise, SOP on other jobs—before or after the six ADT work
orders had consistently been direct notification of the commencement of each project to each
respective franchise owner, and the concurrent direct scheduling, by the Call Center, on each
owner’s respective calendar in the shared Flight Control System. In our group communications
with Meshel, not one mention was made of any owner having to work with any other owner. The
conference calls indicated jobs under the ADT contract would be handled by the franchise in
whose territory the ADT facilities were located.

28. In addition, and concurrently, Meshel was directly communicating to me--in direct one-to-
one emails, phone calls, and voice mail messages--the names of relevant apartment complexes
and their addresses, relative number of locks to be installed at each project, and progress updates
on “per lock” installment price negotiations.

29. On April 22, 2019 I learned that my franchise would be jointly performing the Dallas portion
of the ADT job with another TFL affiliate, J Hanging Investments Inc., d.b.a. The Flying
Locksmiths Forth Worth, owned by Casey Ewing.

30. No one at TFL Corporate--at the point that Casey Ewing was apparently assigned to be the
“point person” for all six projects in the DFW Metroplex--made any effort to inform me that “we
at corporate really have no affinity for Casey at all, as she even tried to defraud us in the past”
(as was finally definitively stated to me by Barry McMenimon in a call made to me much later
that year, on Friday, September 13, 2019).

31. Without question, if Corporate had told me this at the time of Casey’s mystery “assignment”
to these six projects, I would have screamed bloody murder, and vociferously objected to such an
assignment. Of course, as I later learned a few weeks into the six projects, Casey was just fine
with such an assignment, as it gave her access to six projects, none of which were in her
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purchased franchise territory, along with absolute control over the funds that would be earned
from ADT upon project completion.

32. On April 6, 2019 when the six jobs were about to commence in the DFW Metroplex, Bart
Malveaux (Operations Manager-National Accounts at ADT LLC) called Robert Ferguson
(neighboring Franchise Owner of TFL-North Dallas, with his business office in Farmers Branch,
TX) to ask Robert to provide a single point of contact. Robert recommended Casey Ewing
(neighboring Franchise Owner, of TFL-Ft. Worth) to Bart, as Robert had known Casey for about
three years, and had only met me once or twice before I opened my franchise on April 1, 2019. I
was not notified of Bart’s request to Robert.

33. None of the six apartment complexes where work orders were consummated in the DFW
Metroplex were in Casey’s territory. As three were in my territory, the TFL Franchise
Agreement gave my business exclusivity and refusal rights over these projects.

34. Around this time, I began to become aware of two principal concerns of many other
established franchise owners. First, many franchise owners were seeing incursions in their
“exclusive territories” as a result of various contractors requesting a specific franchise owner,
regardless of territorial boundaries. TFL Corporate was allowing this to happen in violation of
exclusive territory purchase rights, with no consequences for the transgressors or recompense to
the victims. Second, Robert Ferguson had been noted by many other franchisees as a major
source of incursion into territories as far north of the DFW Metroplex as the State of Ohio.
When I asked TFL Director of Sales, Steve Quinn, about this upon his visit to Texas in mid-July
2019, his weak response to me was “Yeah, we (he and TFL Corporate) know a lot of this has
been going on, and we really need to do something about it.

35. Related to territory incursions, Casey had her own designs, as it turned out, since she was
fully aware that Corporate had allowed territory incursions in the past with no consequences to
the offending owners. She had even told me early in April 2019, that Robert Ferguson “took
over” the Navco (organic vendor) relationship and entered other owners’ territories at will (not
only throughout Texas, but as far north as Ohio, without any apparent consequence). Even Deb
Breen, Master Franchise Developer for TFL, for the State of Texas, had voiced her own concerns
about this territorial incursion practice to me on at least three occasions.

36. From April 5-21, 2019, unbeknownst to me, Casey started a daily dialogue with Bart to take
control of the relationship, as well as all six DFW projects, without sharing with me any
information about the details affecting these six projects, and how and when they would be
executed. Of course, I was just as responsible for proper execution of these projects, but was
kept in the dark until April 22, 2019.

37. On April 22, 2019, Casey Ewing confirmed our phone call of that day, with an email that
stated the location where we would be meeting Bart Malveaux to install the first demo Smartlock
locks on the first apartment complex work order at Crestmont Reserve.

38. I also asked her, on the referenced call that day, about our financial arrangement for working
these six work orders together. She stated that her view was based upon a per-lock contract with
ADT, and we would each of us would take a portion equal to the number of locks that each of
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our respective techs installed. I stated that was a good starting point, but most of all I expected
the division to be equitable and we should be prepared to accept modifications to the initial
arrangement—because we had no idea how the six projects might go and what unexpected
factors might crop up. This was the first of three total conversations that I had with Casey on
this topic of the proposed financial arrangement between the two of us, for these six projects.
The second conversation was in the week that Bart told me of the request, and assignment, of
Casey as “point person’, as laid out above. That second conversation was basically a word-for-
word repeat of the first conversation. The third and final discussion is stated at Paragraphs 51
and 57 below.

39. This was a few weeks before it began to dawn on me that she would, “game the system” by
just throwing any number of inexperienced day laborers that she could hire to do the work at
these six work orders.

40. I asked her for any paperwork/agreements/POs/etc. with ADT at that time, and she declined
to share any of that with me, because she was Bart’s primary contact. Upon questioning
Corporate about this arrangement, I got weak and offhanded responses about “too much work for
one franchise owner to handle,” and some unwritten “precedent” that had never been written nor
disseminated nor even verbally communicated to the franchisees, about how when two or more
owners had worked together in the past on various large work orders, i.e., one owner was “point
person” and collected all payments to then distribute fairly to other involved owners.

41. No supporting paperwork/agreement/directive for such a “precedent” was ever produced. As
far as I know, to this day, no written version of this supposed “precedent” ever existed. I was not
given any choice in Casey being the “point person” with Bart from ADT, and no one from
Corporate, nor Casey, ever let me see the POs, work orders, etc. that we would be working
under—even though I asked for all of these standard work order documents multiple times.

42. On April 23, 2019, Casey Ewing, David Revilla (one of my two full-time, employed techs
for my Arlington/Ft. Worth franchise), and I met Bart Malveaux at Crestmont Reserve
Apartments to install two demo locks. We discovered that the original negotiated contract price
of $25/lock would be insufficient, as some doors would need more work (drilling out, installing
privacy locks, bad door conditions, etc.) due to more labor/time per “difficult” doors. Bart
agreed that we needed to adjust pricing to a two-tier model, where easy installs would remain at
$25/door, and difficult installs would be around $45/door. Further negotiations were turned back
over to Meshel Harvey at Corporate.

43. On April 23, 2019, Casey, Bart and I were discussing manpower for this project, and Casey
stated that she would have at least four licensed techs when the first work at Crestmont started.

44. I found out later that she only had one experienced employee at the time, who would later
quit on Monday, May 13, 2019—before the Crestmont Reserve work order actually began.

45. On May 1, 2019, Meshel confirmed that she was in the final stages of price negotiations with
Bart for “per lock” pricing on work orders for DFW area apartment complexes. Eventually,
$25/easy installs and $45/difficult installs was mutually agreed upon and work was set to
commence on the first DFW area work order (Crestmont Reserve) the week of May 20, 2019.
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46. On May 17, 2019, I called Deb Breen to voice my concern that Casey had no employees as
of that date, and the first work order was supposed to begin three days later with four
experienced techs—two from Toby, and presumably two from Casey. Deb said she would call
Casey to discuss this. After that call, Deb reported back that Casey assured her she would have
laborers, and not to worry about it.

47. On May 20, 2019, the Crestmont work order commenced. My tech David Revilla and I
showed up the first day. (My other technician, Andras, had to finish up on prior contracts and
did not work on this work order, which had been scheduled for just four days onsite.) David had
been background-checked upon my hiring of him four months before, and could apprentice
under me, as I was properly licensed. On subsequent jobs, David could be supervised by Andres
or me. Casey showed up with no more than five-day laborers with no locksmith training or
experience, contrary to what she had told me and Bart on April 23. Most importantly, no
background checks had been performed on any of her laborers.

48. Experienced locksmiths are required by the Franchise Agreement that each owner signs, and
even more stringent requirements were included in the ADT Vendor Agreement, including
mandatory background checks for each worker the signing of which was also a requirement for
any subcontractors working on any ADT projects.

49. From this point forward, the techs that I supplied were my licensed or apprenticed,
experienced techs, David and Andras. At the same time, Casey began supplying a revolving
door of nothing but inexperienced day laborers, most of whom departed after only a day or two
on the job, never to be seen again.

50. In all, somewhere between 15-20 inexperienced day laborers came and went over the three
months working on the six work orders. When I brought this behavior up with Casey, her
response was, “You know, you could also hire any number of day laborers yourself, if you want
to get paid as much as me.” I told her I was not going to purposely violate the Franchise or ADT
contracted terms of service with respect to experienced, background-checked techs.

51. Casey repeated this proposition (i.e., suggesting hiring day laborers to maximize each other’s
share of income) in a phone call with me on September 6, 2019, when Corporate informed
everyone that all of the funds received from ADT would be going directly to Casey.

52. From May 20 through July 18, 2019, Casey and I worked the six work orders for ADT-
related apartment complexes. About three work orders in, I began to notice that Casey was
gaming the system to maximize her income on a per lock basis, while using a revolving door of
various day laborers (many from Craigslist), as well as providing substandard customer service,
a multitude of incomplete and incorrectly installed Smartlocks, and refusing to take
troubleshooting calls from various apartment managers, regarding incorrect lock installation.

53. During this time, we received a plethora of e-mails from ADT/BH executives related to
requests for warranty troubleshooting of improperly installed locks. I got ALL of these requests
after the first few e-mails, because Casey refused to do troubleshooting without getting extra pay
from ADT, since, in her words, she was “only getting $25 per lock.” I forwarded most, if not all,
of these troubleshooting e-mail requests to Steve Quinn, at TFL Corporate, at his request.
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54. In mid-June, once I was made aware of many missing strike plates at the Versailles complex,
I alerted TFL Corporate, and agreed to replace all missing strikes at my cost of both parts and
labor. Essentially, Casey and I were also both required by contract to perform any warranty
work for a set period of time after the project, if any of the work had been faulty or substandard.
Near the end of all six work orders, I also alerted Corporate to all of these details of shoddy work
efforts at all worksites on 7/18/2019, in a detailed e-mail. Finally, I ran a total of approximately
35-40 emergency calls (adding the e-mail requests, to about 15 requests sent to me by apartment
managers, via texts).

55. Also, during these installs, various apartment Facilities Managers (such as Vincent Jones at
Silverbrook), as well as all the Wolf Security personnel who work concurrently with us on all six
apartment work orders, noted that “Casey never seems to show up to any of these jobs.” The
Wolf Security personnel took special exception to Casey’s day laborers not having completed
any background checks, as the Wolf personnel were each required to have satisfactory
background checks done in order to be present on all work order sites.

56. On July 12, 2019, Stephanie Barr, who was forced to work with Casey Ewing on a new
apartment work order in late July in McKinney, TX, e-mailed Corporate to ask what the financial
arrangement would be for her and Casey, regarding division of ADT’s payment, as well as who
would be responsible for related franchise funds when payment was received upon job
completion. It was clear from her e-mail that Stephanie, a franchise owner with three years of
experience was completely unaware of Corporate’s unwritten, undocumented “precedent” for
when two or more neighboring owners were/are required to work together, as well as who would
decide how payments would be divided.

57. At this point, I became suspicious of TFL Corporate’s assertion that its precedent relating to
multiple owners working on the same project even existed and/or truly failed to include a
revenue-sharing arrangement. It seemed to me that Steve and TFL Corporate were making things
up as they went along.

58. On this same day, Casey told me that Stephanie had also called Corporate, to ask the same
questions in Stephanie’s referenced e-mail. Casey stated that she did not know why it was not as
easy as “who does how many locks/doors.” I replied that she knows just as much as I do, that we
have encountered so many unexpected variables over the course of six joint work orders, that a
‘per door’ policy does not begin to represent the proper amount of work, supervision,
troubleshooting, emergency calls, and rework that was required on our jobs.

59. On July 16, 2019, Meshel Harvey, the Primary Account Contact for ADT Natl. Acct., TFL
Systems Customer Care Call Center, received a request from Jennifer Johnson, Apartment
Manager at Versailles, Joe Diaz a high-level executive from ADT, Bart from ADT, and Eva Cruz
a high-level executive from BH Management, to come to Texas for a “walkthrough” to jointly
inspect locks that Jennifer, ADT, and BH Management stated were improperly installed.

60. Corporate decided to send Steve Quinn instead of Meshel as its TFL representative. Steve
flew in on Sunday, July 21, 2019, and he and I met at Versailles, on Monday, July 22, with all
interested parties.
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63. On July 19, 2019, I had a conference call with Steve Quinn and Meshel, to discuss my detailed
e-mail of 07/18/2019, about Casey's behavior. Steve and Meshel both said several times that
Casey's behavior was appalling and unacceptable, and that they and Corporate "have my back"
with regards to seeing that I was rewarded fairly and equitably on the six ADT work orders. They
conveyed that I had gone above and beyond by fixing all the incorrectly installed locks and
attempting to maintain TFL's commitment and reputation with ADT. Steve was determined to
push for a 50/50 split, between Casey and I, on all funds received from ADT for these six work
orders. His desire, and that of Corporate, was that a national TFL standard be set such that big
projects requiring multiple neighboring franchisees be paid equally i.e., 2 franchisees-50/50; 3
franchises-33.33 /33.33/33.33, etc.

64. On July 22, 2019, Steve and I meet for three hours with all interested parties from Versailles,
ADT, and BH Mgt., to learn they were unhappy with the juxtaposition of the Smartlock and
Privacy Lock deadbolts on about 75% of all unit doors. A plan was discussed to remedy this
complaint, at a certain cost, sometime in September 2019.

65. That meeting was significant because Steve got to validate with his own eyes that Casey's day
laborers left the screws out of the locks that we inspected and discarded strike plates from doors.
Both conditions threatened near-term and future lock failures, and compromised door security.

66. In short, Casey defrauded me. On April 23, 2019, she said that she would provide four licensed
techs. She never even provided a single one. I provided my share of licensed techs, but I was
counting on her team to handle some of the work. Not only did I do my share of the work, but I
was left footing the bill for her shoddy work and I had to fix all of her poor workmanship.

67. If I had known Casey was not going to provide licensed techs, I would not have agreed to a
sharing of the six jobs with my limited manpower in the time we had to get it all done. Her actions
damaged me by effectively stealing funds and creating a need for warranty work in my franchise.
Her delay and refusal to pay me was a significant factor in the demise of my TFL franchise because
I needed the cash flow and could not survive without it.

68. Attached to this Declaration are a number of items of evidence in my possession that I attest
are authentic including Exhibit A-1 "How to be a Locksmith", Exhibit A-2 the Franchise
Agreement between TFL and Black 13.


Execute~              ounty on August 15, 2024,

                   · Ft ~                                    ~ Ir c;-/2 J I

         Tobin M. Gilman                                     ~
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                                                                                              Exhibit A-1

                     ALOA Security Professionals Association, Inc.
                          Headquarters Office • 3500 Easy Street • Dallas, Texas 75247-6416
                                        214/819-9733 • FAX 214/819-9736
                                         www.aloa.org     education@aloa.org




          How to Become an Educated, Certified Security Professional

Locksmithing is one of the world’s oldest and most honorable professions. With the recent advances in
computer and electronics technology, there are many more lucrative and specialized areas for the
professional locksmith to pursue. No longer is the locksmith restricted to installing/repairing mechanical
locks and cutting keys. Electronic access control, sophisticated electronic safe locks, electronically
encoded automotive keys and locks and closed circuit TV are just a few of the areas that locksmiths are
branching into or specializing in. With the proper training, almost anyone can become a locksmith. You
can receive training from a number of sources which include technical schools, correspondence courses,
trade publications, apprenticeship programs, and professional locksmith associations such as ALOA.

ALOA conducts Certified Instruction throughout the year at the ALOA Training Center in Dallas, Texas,
on a regional basis at locally sponsored events and at the ALOA Educational Conference and Security
Expo, which next year ALOA convention will be held at the Gaylord National Harbor in Maryland, just
outside of Washington DC. Our SAFETECH convention will be held in April of 2018 in the Hyatt
Regency Milwaukee, WI.

As an international trade association, ALOA recognizes professionalism and proficiency among locksmiths
by granting a designation ALOA Fundamental Locksmith, (AFL). Also after examinations students can be
certified with a designation such as Certified Registered Locksmith (CRL), Certified Professional
Locksmith (CPL), Certified Master Locksmith (CML) and Certified Automotive Locksmith (CAL).
Available to all locksmiths, the Proficiency Registration Program (PRP) evaluates, through participation
tracking and testing, the educational and technical competence of dedicated individuals in a wide range of
subjects such as hardware installation, key duplication, automotive, high security cylinders, safe and vault
locks, master keying, alarms, and access control devices.

Certification Levels
To achieve the first level of certification, Certified Registered Locksmith CRL, a passing grade (70 %+) is
required on the mandatory section and any two electives.

To achieve the intermediate level of certification, Certified Professional Locksmith CPL, a passing grade
(70 %+) is required on each of any twelve additional electives.

To achieve the highest level of certification, Certified Master Locksmith CML, a passing grade (70 %+) is
required on each of any nine of the remaining electives.
ALOA has certified 3,900 of our members nationwide with an additional 2,500 who are presently in the
early stages of certification. ALOA provides the licensing exam for the State of Illinois Department of
Professional Regulation and has worked with other city and state agencies in setting up their qualifications
for locksmith hiring and requirements for licensing.
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ALOA Fundamental Locksmith (AFL)
The ALOA Fundamental Locksmith (AFL) designation has completed ALOA’s Six Day Basic
Locksmithing Course and then has passed the after the class examination is given on the last day. An AFL
has enough general Locksmithing knowledge to function as an apprentice locksmith. An AFL is
recognized for training or experience but is not tested or certified. This is not a path for advanced
certification levels.

Certified Registered Locksmith (CRL)
The first level of locksmith certification is Certified Registered Locksmith (CRL). A Certified Registered
Locksmith has passed the ten mandatory categories, as well as at least two specialized electives of his
choice. A CRL has a good working knowledge of general locksmithing.

Certified Professional Locksmith (CPL)
The second level of locksmith certification is Certified Professional Locksmith (CPL). A Certified
Professional Locksmith has earned the CRL designation and has succeeded in an additional twelve elective
categories. A CPL has an advanced knowledge of general locksmithing and of many specialized areas.

Certified Master Locksmith (CML)
The highest level of locksmith certification is Certified Master Locksmith (CML). A Certified Master
Locksmith has reached the highest level of ALOA’s Proficiency Registration Program and has successfully
demonstrated proficiency in ninety percent of the available categories of the Proficiency Registration
Program. A CML has advanced knowledge of most areas of locksmithing and electronic security.

Certified Professional Safe Technician (CPS)
The first level of the SafeTech certification is Certified Professional Safe Technician (CPS) – A CPS has
successfully demonstrated proficiency in 17 safe and vault related categories.

Certified Master Safe Technician (CMST)
The highest level of the SafeTech certification Certified Master Safe Technician (CMST) – A CMST has
successfully demonstrated advanced proficiency in safe and vault related categories.

Locksmith Certification Categories
The Proficiency Registration Evaluation currently consists of thirty-nine categories, ten of which are
mandatory.

The L-00 has 10 mandatory categories for ALOA Locksmith Certification:

           Codes and Code Equipment                                           Cylinder Servicing
             Key Blank Identification                                          Key Duplication
                Key Impressioning                              Professional Lock Opening Techniques
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                Lockset Functions                                              Lockset Servicing
               Basic Master Keying                              Cabinet, Furniture and Mailbox Locks

The remaining twenty-six categories are electives that may be selected according to each locksmith’s field
of specialization or expanding knowledge. This number will vary as technology changes. Each elective
contains between twenty-five and forty questions, depending on the subject covered.

The PRP elective categories are:


     Domestic Automotive                 Foreign Automotive                          Door Closers
                                       High-Security Cylinder                 Special Application Cylinder
       Life Safety Codes
                                             Servicing                                 Servicing;
    Tubular Key Cylinder                                                        Exit Hardware and Exit
                                           Basic Electricity
         Servicing                                                                      Alarms
                                      Lever Tumbler/Non-Safe
  Keyless Mechanical Locks                                                         Motorcycle Locks
                                           Deposit Locks
   Safe Combination Locks                 Safe Deposit Locks                          Time Locks

      Lockset Installation            Advanced Master Keying                        Safe Installation
                                                                                     Small Format
  Safe Opening and Servicing       Vault Installation & Servicing
                                                                                 Interchangeable Core
         Large Format                Electromechanical Access
                                                                                Related Door Hardware
     Interchangeable Core                    Control
            Alarms                   Detention Locking Systems                     Closed Circuit TV
       Institutional Shop
                                              Networking
         Management

Safe Technician Certification Categories
Certified Professional Safetech, CPS categories:


      Lock Identification              UL Standards for Safes                    Vaults and Safe Locks
                                                                               Safe Lock Servicing and
     SMNA & JIS Ratings                Tools and Their Usage                  Changing For Common US
                                                                                     Made Locks
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 Troubleshooting and Dialing
                                          Theory of Manipulation                   Safe Lock Installation
         Diagnostics
    Basic Safe and Lock
                                              Safe Installation                      GSA Equipment
        Construction
    Safe and Vault Door                  Drilling, Post-Penetration
                                                                                    Safe Deposit Locks
   Adjustments/Alignment                           Repairs
   Key-Operated Safe Locks               Safe-Related Electronics


CMST categories:

                                        UL Standards for Safes,
      Lock Identification                                                         SMNA & JIS Ratings
                                         Vaults and Safe Locks
                                        Safe Lock Servicing and
                                                                                   Troubleshooting and
    Tools and Their Usage              Changing For Common US
                                                                                   Dialing Diagnostics
                                              Made Locks
                                                                                  Basic Safe and Lock
   Theory of Manipulation                  Safe Lock Installation
                                                                                     Construction
                                                                                  Safe and Vault Door
        Safe Installation                     GSA Equipment,
                                                                                 Adjustments/Alignment
   Drilling, Post-Penetration
                                             Safe Deposit Locks                  Key-Operated Safe Locks
             Repairs
                                            Advanced Dialing                      Uncommon Safes and
   Safe-Related Electronics
                                        Diagnostics, Manipulation                      Locks,
    Advanced Safe Deposit
                                                 Time Locks                        Night Depositories,
           Locks
     High-Security Safe                Safe Penetration, Advanced                 Composite and High-
        Construction                     Borescope Techniques                     Security Safe Repair
    Vaults and Vault Doors



Duties
A professionally trained locksmith installs locks, deadbolts and other locking devices to safeguard homes,
businesses, vehicles, and other property. Locksmiths also may modify or repair such devices, rekey locks,
make duplicate keys, generate new keys for locks whose keys have been lost and respond to emergency
calls to open vehicles, homes, and businesses that have been locked accidentally or have malfunctioned.
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When new or replacement locks are required, a locksmith assists the customer in determining the types of
locks needed and where they are to be installed. The locksmith installs a lock by cutting or drilling the
proper opening in the selected location, using small hand and power tools.

A locksmith may sell and service safes for home and business use. Some locksmiths install and service
electronic alarm and surveillance systems and access control systems. Banks have many locking devices
that require regular service by locksmiths such as vault doors, safe deposit boxes and teller equipment.

A locksmith repairs a lock by disassembling and examining it to locate worn or malfunctioning parts, then
cleans and adjusts the internal mechanisms and replaces these parts with new ones supplied by the lock's
manufacturer. On occasion, it may be necessary to custom make some repair parts using lathes, drills,
grinders, and other power and hand tools. When the repairs have been completed, the locksmith will
reassemble the lock and check its operation.

A locksmith may respond to emergency calls for customers who have accidentally become locked out of
the home, business or vehicle. The locksmith begins by examining the lock(s) to determine the best method
to circumvent the lock. These methods may include the use of lock picks, bypass tools or other special
instruments. Fitting a key by code or other skilled means is also a method of opening a lock. Experience,
skill, and knowledge dictate the method a professional selects to open a lock. There are times when the
quality of the lock, concern for the safety of occupants and other factors such as malfunctions of the lock
may force the locksmith to use destructive techniques to gain entry. Before performing an opening or
certain other sensitive tasks, the locksmith may require a picture ID.

A locksmith makes duplicate keys using a key-duplicating machine. With the customer's (pattern) key and
key blank clamped in their respective vises, the locksmith moves the pattern key across the guide. A rotary
cutter cuts the same pattern into the key blank. The locksmith carefully examines the new key to ensure its
accuracy.

For security reasons or because keys are stolen or misplaced, many businesses, hotels/motels, and
apartment complex owners contract with locksmiths to provide new master key systems reset combinations
and re-key their door locks on a regular basis. Some locksmiths install and service electronic alarm and
surveillance systems, including burglar alarms and access control systems. Self-employed locksmiths also
must keep business records, maintain a proper inventory of parts, keys, and tools, and schedule their
workload.


Working Conditions
Working conditions of locksmiths depend upon the location of the locks and security systems being
installed, serviced or repaired. Their repair shops generally are clean, well-lit and adequately supplied with
tools, parts, and equipment. While working in repair shops, locksmiths stand or sit at counters,
workbenches or desks. Most locksmiths offer on-site repairs installations and conditions at these locations
vary greatly. Work on doors, safes and other lockable equipment often require considerable bending.
Some strenuous effort may be necessary when working on safes or bank vaults.
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Personal Qualifications
Locksmithing involves precise and detailed work. If you are planning on entering the trade, you should
possess the mechanical and mathematical ability, good vision, spatial perception, eye-hand coordination
and manual dexterity. The ability to understand lock and key specifications, operating manuals, and other
written or oral instructions is necessary. To install time locks, alarms, access control systems or
surveillance devices, locksmiths must have knowledge of electricity and electronics. You also should be
able to work without close supervision. Additional traits include patience, emotional stability, honesty,
dependability, accuracy and the ability to get along with other individuals.

Earning and Hours
Earnings of locksmiths depend on their skills and experience, the geographic location of employment, and
whether they are self-employed or work for an employer. Beginning salaries range from about $230 to
$280 a week. Earnings for the different levels of certification will, of course, vary based on many factors
such as geographical/economical location, type of work and whether they are self-employed or work for a
retail or institutional employer. CRL's may earn from @ $280 - $360 per week, CPL's may earn from $320
- $440 per week and CML's may earn $400 - $720 per week or even higher. Most employers schedule
locksmiths to work a 40-hour week, with overtime for emergencies at night or weekends.

Education and Training
During high school, courses in mathematics, mechanical drawing, metalworking, basic electronics, physics,
and English plus some business education are recommended. On-the-job training is the primary method of
learning locksmithing skills. Trainees will work with experienced locksmiths until they have mastered the
necessary skills. In some on-the-job training programs, employees attend demonstrations or receive
classroom as well as practical training. The length of time necessary to complete on-the-job training as an
apprentice ranges from three months to four years.

There also is the ALOA Calendar that shows what classes are presented at various sites around the
country. The ALOA Training Center in Dallas, Texas provides a Six-Day Basic Locksmithing Course
which is comprehensive, hands-on training in basic locksmith skills. The ALOA Convention and Security
Expo provides extensive training in a wide variety of locksmith subjects. In the ALOA Store is a selection
of educational books, CDs, and videotapes for purchase. ALOA members can check out education tapes
from the ALOA video library.

ALOA offers a broad array of affordable training programs to keep locksmiths/security professionals
abreast of industry changes.
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                As far as Online Training, recently ALOA has coordinated with a couple of established
                continuing education sources, first being ASSA ABLOY Online Training Courses.
                These are now new options available to established locksmiths with a desire to achieve
                more in their knowledge by enrolling in their online classes available.


Secondly, ALOA has collaborated with SecurityCEU.com to bring our members the latest in security
industry training. All courses are online, self-paced training and approved for CEUs at the national and
                                       state level. ALOA members receive a deep discount on all
                                       SecurityCEU.com courses. See all of their coursework here…
                                       SecurityCEU.


Other programs include the annual conference, the ALOA Training Center, regional ACE classes, self-
study DVD courses in the ALOA Store and more. Our programs will give you ideas of the most innovative
resources, insights and lessons to revitalize your skills and career. Programs, designed specifically for
locksmiths/security professionals, consider every stage of your career and provide excellent networking
opportunities through a broad range of courses with top-rate faculty.

Conferences
ALOA’s annual conferences attract more than 3,000 security professionals annually from around the world.
Each conference is comprised of over 70 eight hour classes with hands-on training, 35 three hour
workshops and six evening seminars on a wide range of topics. The ALOA Continuing Education (ACE)
department reviews all of the submitted proposals and determines which proposals are accepted into the
final program for each conference. For information on presenting at one of these conferences, contact
education@aloa.org.



Classroom Programs

ALOA offers more than 140 Industry Specific classes annually to help you grow professionally and
increase your personal knowledge of security practices. Classroom programs for the Fall Courses of 2017
range from one to six days and are available at the ALOA Training Center in Dallas, Texas and throughout
the United States, Canada, Asia, Mexico and Europe.

PRP Certified Classes

ALOA offers PRP certified classes that allow the student the opportunity to review the subject matter in a
classroom environment for a specific PRP elective category and gives the student the opportunity to take
the elective exam upon completion of the class. These classes enable those planning to take the industry
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certification exams; Certified Registered Locksmith (CRL), Certified Professional Locksmith (CPL) and
Certified Master Locksmith (CML), a unique opportunity to review their experience and knowledge and
prepare a study plan for the certification exam.

Instructors
ALOA Instructors consists of known experts in the field, with numerous years of industry experience. All
of the instructors have completed the requirements for the ACE Certified Instructor program and are
evaluated annually on their performance.

Continuing Education Units

ALOA programs are eligible for continuing education units (CEUs). Ten hours of class participation equals
one CEU.

Recertification Credits

ALOA Continuing Education (ACE) classes provide credits for CRL, CPL and CML recertification.


Scholarship Opportunities

The ALOA Scholarship Foundation is an independent, educational, non-profit 501(c)(3), tax-exempt
corporation established in 1993 to:

   ·   Encourage and provide for educational services, programs and materials concerning locksmithing and
       security devices and procedures.
   ·   Develop scholarship and assistance programs for persons interested in pursuing a career in the security
       and locksmithing field.
   ·   Solicit funds necessary to implement the purposes of the Foundation.
   ·   Perform and do any and all such other acts as are necessary, convenient and proper for the attainment
       of these objectives.

What are the Scholarships for?

The Associated Locksmiths of America Scholarship Foundation (ASF) can be an important source of
educational funding. We support all locksmith efforts to seek education via technical training and business
management from all educational providers. Scholarships are not limited to ALOA educational programs.
While ALOA does have an impressive history in locksmith training and testing, the independent ALOA
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Scholarship Foundation encourages locksmiths to apply for funding for any of the following industry
related training:
    · A full ALOA convention package which includes: four or five full-day classes & lab fees w/lunch,
        2 evening seminars, 2 half-day classes, 3 days of exhibits and a dinner banquet ticket.
    · A full SAVTA convention package which includes: four full-day classes & lab fees w/lunch, 2
        evening seminars, 2 days of exhibits and a dinner banquet ticket.
    · Sponsored ALOA Certified Class presentations approved by the Foundation Board.
    · Other locksmith training provided by education facilities approved by the Foundation Board.
    · Limited Travel & Lodging to the above events may be awarded depending on need and funds
        available.

Selection Criteria
The ALOA Scholarship Foundation awards scholarships for locksmith education based on several criteria that
includes:
    · Individual applicants financial needs
    · Character
    · Aptitude for the skills necessary in locksmithing
    · Demonstration of a desire for a career in locksmithing
    · Availability to attend the event for which the award is given
    · Demonstrated commitment to the locksmith industry
    · Letters of recommendation from locksmith industry references.
    · Previous Scholarship awards.

ASF Applications for Scholarships are available from the ALOA website; in Keynotes magazine; in ALOA
booths at local shows and from the ALOA office by request.

Scholarship applications for ALOA or SAFETECH must be submitted at least 90 days prior to the first
day of the event for which the scholarship is being requested. Scholarships for other educational events
must be submitted at least 60 days prior to the event being requested, in order to be given adequate
consideration. See more information at the ALOA ASF Web page.

In-house and Custom Training
ALOA is able to bring any existing course to your facility. Additionally, custom training can be tailored to
your specific needs. For more information, download the form and mail, fax, or email it to
education@aloa.org.
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Licensing
Many cities and states require locksmiths to be licensed and bonded. You should check with your local
state, county or city for any licensing requirements. In many states, in order to obtain their licenses,
locksmiths must be fingerprinted and pay a fee.

For more information, click on the link for each of the following states that require locksmith licensing:

        Alabama                           California                    Connecticut         Illinois         Louisiana   Maryland
                                                                                                              North
       Nebraska                               Nevada                    New Jersey       New York                        Oklahoma
                                                                                                             Carolina
         Oregon                           Tennessee                       Texas            Virginia

If you have any additional questions about ALOA or becoming a locksmith, you may call me at the ALO A
headquarters 214-819-9733 ext.101.
I wish you luck in your future endeavors!
Cordially,


Certification & Training Coordinator

ALOA Security Professionals Association
Safe and Vault Technicians Association
Intl. Assoc. of Investigative Locksmiths
ALOA Institutional Locksmiths
214/819-9733, Ext. 101
www.aloa.org


           SAVTA 2018 ~ Hyatt Regency Milwaukee, WI
           Milwaukee, WI ~ Classes: April 30 to May 4 ~ Expo: May 5


           ALOA 2018 ~ Gaylord National Harbor, MD
           Washington DC ~ Classes: July 8 to 12 ~ Expo: July 13 & 14
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                                                EXHIBITC




                                        TFL Franchise Systems, LLC




                                        FRANCHISE AGREEMENT
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                                                             ATTACHMENTS




             Attachment 1: Franchised Business - Particulars
             Attachment 2: Marks
             Attachment 3: Holders of Ownership Interest in the Franchisee
             Attachment 4:    State Addenda to the Franchise Agreement
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                                                                              12/12/2018                      .
                     THIS FRANCHISE AGREEMENT ("Agreement"), dated _ _ _ _ _ _ (the "Effective
             Date"), is entered into by and between TFL Franchise Systems, LLC, a Massachusetts limited liability
             company ("Franchisor" or "we," "us," or "our," and Black 13 Enterprise. Inc.
             ("Franchisee," or "you," or "your").

                                                             RECITALS


                     WHEREAS, Franchisor has created a comprehensive program (the "Program") for the operation
             of a business that provides locksmith and security services and products, including doors, video cameras,
             and access control, for commercial, residential, and automotive customers under the name of The Flying
             Locksmiths (the "Franchised Business"). Your business will consist of a fixed location and one or more
             service vans.

                     WHEREAS, the Program involves the use of Franchisor's confidential and proprietary methods,
             equipment, operating procedures, business techniques, and manuals in connection with each Franchised
             Business (the "Confidential and Proprietary Material") as well as the use of Franchisor's trademarks,
             service marks, trade names, logos, brands, copyrights and other intellectual property in connection with
             each Franchised Business ("Intellectual Property");

                     WHEREAS, Franchisee wishes to establish and operate a Franchised Business pursuant to this
             Agreement using the Program and the Confidential and Proprietary Material in the Territory (as defined in
             the Agreement), and to derive the benefits of the Program, the Confidential and Proprietary Material, and
             Franchisor's experience, name, reputation and guidance;

                     WHEREAS, Franchisor wishes to grant Franchisee the right to establish and operate one
             Franchised Business pursuant to this Agreement using the Program and the Confidential and Proprietary
             Material in the Territory (as defined in the Agreement), and to derive the benefits of the Program, the
             Confidential and Proprietary Material, and Franchisor's experience, name, reputation and guidance;

                     NOW THEREFORE in consideration of the foregoing, the covenants and agreements herein
             contained, and other good and valuable consideration, the receipt, and sufficiency of which are hereby
             acknowledged, the parties covenant and agree as follows:




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                                                               AGREEMENT

             1.      DEFINITIONS AND INTERPRETATION

                      1.1      Defined Terms. In addition to the terms defined above, which are incorporated herein by
             this reference, the following terms have the meanings set forth below:

                     (a)      "Affiliate" of any person means another person that directly or indirectly, through one or
                              more intermediaries, controls, is controlled by, or is under common control with, such first
                              entity.

                     (b)      "Gross Revenue" means the aggregate sales price of all products and services sold by the
                              Franchisee or any of its Affiliates, in connection with or arising out of the operation of the
                              Franchised Business. It also includes the retail value of all products and services donated
                              or bartered by the Franchisee or any of its Affiliates, in connection with or arising out of
                              the operation of the Franchised Business. Excluding from these amounts are (1) the amount
                              of any refund or credit given in respect of any services provided to a customer of the
                              Franchised Business for which a refund of the whole or part of the purchase price is made
                              or for which a credit is given in the ordinary course of business, and (2) any amounts
                              collected by Franchisee for any governmental authority and paid out by Franchisee to that
                              governmental authority on account of sales taxes or other taxes imposed upon the sale of
                              goods or services by Franchisee in respect of the Franchised Business and which
                              Franchisee is not entitled to subsequently recover.

                     (c)      "Marks" means the trademarks or trademark applications shown in Attachment 2, as such
                              marks may be changed from time to time. The Marks are one component of the Intellectual
                              Property.

                     (d)      "National Account" means relations with clients with outlets in multiple territories who
                              desire for Franchisor to administer their account at the corporate level.

                     (e)      "Operations Manual" means the manual entitled "'The Flying Locksmiths Operations
                              Manual," including hard copy and online materials, developed and owned by Franchisor,
                              as revised by Franchisor from time to time.

                      (t)     "Program" means the Franchisor' s best practices that have been developed and combined
                              into a comprehensive process for operating a Franchised Business. It includes, but is not
                              limited to, franchisee training, marketing, and sales assistance in opening and operating
                              your Franchised Business.

                      (g)      "Franchised Business" means The Flying Locksmiths business you will operate in
                              accordance with the terms of this Agreement.

                      1.2     Interpretation. For purposes of this Agreement:

             The singular number shall include the plural, and the masculine gender shall include the feminine and neuter
             genders, and vice versa.

             The article, section and subsection headings are for convenience of reference only and shall not for the
             purpose of interpretation be deemed a part of this Agreement.

             AJl grammatical variations of defined terms in this Agreement shall have the meaning corresponding to the
             grammatical variation.


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             2.      GRANT OF FRANCHISE AND TERM

                     2.1     Grant of Franchise. Upon the terms and conditions set forth herein, Franchisor grants to
                     Franchisee, and Franchisee accepts, the right for the Term and any Renewal Term-

                     (a)      to establish and operate one Franchised Business; and

                     (b)     to use the Program, the Intellectual Property, and the Confidential and Proprietary Material
                     in connection with the operation of the Franchised Business in accordance with this Agreement,
                     the Software License Agreement and the Operations Manual.

                     2.2     Territory. You will receive an exclusive territory in which to operate the Franchised
                     Business in that we will not establish either a company-owned or franchised outlet selling the same
                     or similar goods or services under the same or similar trademarks or service marks as we license
                     you to use here.

                     The minimum territory contains 125,000 people. You may purchase a territory in the size range
                     from 125,000 to 2,000,000 people, though we expect our typical territory to contain approximately
                     500,000 people. You and we will agree to your territory and it will be described in Attachment 1
                     to the Franchise Agreement before you execute it. Your territory will be a geographical area
                     containing a specific number of persons based on the U.S. Census Bureau or such other source as
                     we feel is reliable.

                     You must locate your Franchised Business office in your territory in a business location.
                     Your Franchised Business office can not be at your home or a residential address.

                     We may establish franchisor-owned locations, other franchises or sub-franchises outside your
                     exclusive territory, regardless of proximity to the boundaries of your territory.

                     We may also establish other franchises or company- owned outlets or other channels of distribution
                     offering similar services under names and trademarks which are not the same or similar to the
                     Marks, within or without your territory, provided they are not in direct competition with you.

                     We or an affiliate may use other channels of distribution, such as the Internet, catalog sales,
                     or other direct marketing, to make sales within your territory using our principal
                     trademarks, though normally we will direct customers gained in this way in your territory
                     to your outlet, but may occasionally direct such customers to another franchisee ifwe feel
                     business circumstances so require.

                     We reserve the right to use other channels of distribution, such as the Internet, catalog sales,
                     telemarketing, or other direct marketing, to make sales within your territory of products or services
                     under trademarks different from the ones you will use under the franchise agreement. We do not
                     pay compensation to you for soliciting or accepting orders from inside your territory.

                     Unless you receive our prior permission, you are prohibited from soliciting or providing
                     services to customers outside of your exclusive territory, including the use of other
                     channels of distribution, such as the Internet, catalog sales, telemarketing, or other direct
                     marketing.

                     National Accounts



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                     We alone retain the exclusive right to establish relations with clients who have locations in
                     multiple franchisee territories who desire for us to administer their account at the corporate
                     level (National Accounts"). Typically, these clients desire to channel their job requests
                     and billing solely through us at the corporate level. We then make these jobs available to
                     franchisees. You may elect to accept such jobs if they become available in your territory
                     or not. When we handle billing or invoicing on national account clients, we mark up the
                     customer invoice typically 1-20% to cover our costs for administering this work and
                     handling the billing and invoicing. In some instances, there may be other fees or fee splits.
                     You agree to these mark ups, fees and fee splits. In addition, if there is a dispute on any
                     work performed for a National Account, you agree that we may mediate and resolve the
                     dispute and you agree to be bound by our decision. If you decline a National Account job
                     made available to you in your territory, then we may offer the job to a nearby franchisee or
                     in some cases, another locksmith company not affiliated with us.

                     2.3      Reservation of Other Rights. Except as set forth above, Franchisor, for itself and its
                     Affiliates and successors, expressly reserves the right to offer the Services under the Marks directly
                     or through other Franchised Businesses at any location.

                     2.4     Opening Date and Commencement of Services. The parties intend that the Franchised
                     Business will commence operation on the date specified for commencement of operations in
                     Attachment I (the "Scheduled Opening Date"). Franchisee agrees to use its best efforts to execute
                     a preliminary agreement with a lessor within 30 days of signing the Agreement and to execute a
                     lease for an office location which meets Franchisor specifications within 60 days of signing the
                     Agreement. Further, Franchisee agrees to open the Franchised Business within 120 days after
                     execution of the lease. Franchisee may request an extension in writing from the Franchisor if
                     Franchisee is unable to meet these deadlines. Franchisee further confirms and agrees that it will
                     obtain and maintain all licenses, permits and inspection approvals required by law or regulation,
                     and takes such other actions as may be necessary, to operate the Franchised Business at the
                     Franchised Location from and after the Scheduled Opening Date. Franchisor may extend the
                     Scheduled Opening Date by up to 60 days on written notice to Franchisee.

                     2.5      Operation only from Franchised Location. Franchisee and all employees and other
                     representatives of Franchisee shall operate the Franchised Business at and solely from the
                     Franchised Location, or such other location or locations as the Franchisor may agree to in advance
                     in writing.

                     2.6     Term. The term of this Agreement shall commence on the Scheduled Opening Date
                     (whether or not the Franchised Location is open for business on that date) and, unless sooner
                     terminated as provided herein, shall continue for a term of ten (I 0) years, subject to renewal
                     pursuant to Section 19.

                     2. 7    Management Personnel and Guarantee. The grant of franchise in Section 2.1 is made by
                     Franchisor based on and in reliance on the personal attributes and abilities of the management
                     personnel named in Attachment I (the "Management Personnel"). Franchisee confirms and agrees
                     that each of the Management Personnel will actively participate in the management of the
                     Franchised Business. Ifa company (or other entity) has been designated as Franchisee hereunder,
                     then each of the shareholders, members, managers, directors and officers of the such company will
                     sign Franchisor's current form of guaranty (the "Guaranty") guarantying the full and complete
                     performance of this Agreement by Franchisee, a copy of which is attached as Schedule C.




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             3.      INITIAL FEES
                      3.1 Initial Franchise Fee. The initial franchise fee is $.12 per person in your territory. The
             minimum territory size is 125,000 people which would equal a $15,000 franchise. However, we will not
             generally sell a territory with fewer than 500,000 people in it, which equates to a $60,000 initial franchise
             fee. We use the most recently published data from the U.S. Census Bureau or another source we deem
             reliable to determine population.

                     The Initial Franchise Fee is due upon signing of this Agreement and is non-refundable. The initial
             franchise fee is fully earned upon receipt.

             4.      ROY AL TY AND FEES

                    4.1       Amount of Royalty. Franchisee shall pay to Franchisor a continuing royalty 8% of Gross
             Revenue.

                      4.2    Calculation and Payment. The Royalty and Customer Care Center Fee (discussed below)
             shall be paid monthly by way of electronic transfer (automatic debit) to Franchisor. All Royalty and Call
             Center fees are billed on Gross Revenue two months after the month in which the sale of products or
             services took place, to aid the franchisee in managing cash flow. Monthly reports and invoices are due
             from Franchisee by the 4th day, payments are due on the 8th day, and are delinquent on the 10th day of the
             subsequent month. If monthly reports are not submitted by the 15th of the month, a $100 late fee applies.

                     Payment will be automatically debited from Franchisee's account on the 8th. If payment is not
             received by the 10th, then 10% interest (based on estimated or actual amounts) will begin to accrue and an
             administrative fee of $150 will added to the ACH amount Franchisee shall execute all banking forms and
             documents and do all other things necessary to facilitate such payments by way of electronic transfer
             (automatic debit).

                      The automatic debit amount for each month shall be calculated by the Franchisor based upon
             reconciling the Invoices with the Reports submitted by the Franchisee. Should Franchisee fail to update
             the Field.Locate or another Scheduling System as required in a timely manner, Franchisor shall calculate
             the automatic debit amount based upon the most recent Monthly Report. Any necessary reconciliation will
             be made during the month following receipt of the Monthly Report that was not timely submitted.

                     If the electronic transfer of the Royalty transfers are declined by Franchisee's bank for any reason,
             Franchisee shall reimburse Franchisor for all costs incurred by Franchisor in connection therewith,
             including any reasonable administrative fee as may be set by Franchisor from time to time. Payments shall
             be processed through the Automated Clearing House ("ACH") electronic network. ACH rules and
             regulations shall apply.

                      In addition, Franchisor may withhold and pay to itself or a supplier to whom Franchisee owes
             money, any amounts due from Franchisee from any monies owed to Franchisee by Franchisor or third
             parties, which such monies pass through Franchisor.

                      4.3     Customer Care Center

                            4.3.1    Customer Care Center. Franchisor shall maintain a customer care and call center
             (the "Customer Care Center") to process all orders for Services and to handle customer inquiries on a
             system-wide basis. The Customer Care Center is intended to provide an efficient and uniform system for
             placement and retrieval of orders for Services and handling customers inquiries and complaints, and to
             provide a mechanism for establishing a client database and providing management reports to The Flying


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             Locksmiths franchisees. The Customer Care Center is for the benefit of all franchisees and providers of
             Services. Franchisor undertakes no obligation to ensure that any particular franchisee benefits on a pro-
             rata basis from the Customer Care Center.

                              4.3.2 Receipt and Processing of Orders. Promptly upon receipt of an order for Services
             within the Territory, Franchisor shall post such order on the Franchisor's system-wide intranet system
             ("FieldLocate or another Scheduling System"). Franchisee shall promptly retrieve all orders for the
             Services in the Territory from FieldLocate or another Scheduling System.

                            4.3.3 Franchisee Access to FieldLocate or another Scheduling System scheduling
             software. Franchisee is required to license the appropriate number of users for the FieldLocate or other
             Scheduling System scheduling software. It will be used for all scheduling and job reporting.

                              4.3.4      No Other Sales. Franchisee acknowledges and agrees that except as explicitly
             provided for in this Agreement, Franchisee is not permitted to receive or fill any order for the Services
             within the Territory other than those orders that are placed or processed through the Customer Care Center
             and posted on FieldLocate or another Scheduling System. Should Franchisee receive orders with
             Franchisee's local telephone number or any other method, Franchisee must process these orders through the
             Customer Care Center and FieldLocate or another Scheduling System.

                             4.3.5 Unsolicited Orders. Notwithstanding the provisions of Section 4.3.4, if Franchisee
             receives a request to provide the Services to a new customer (the "Unsolicited Order") while providing
             services to another customer, and Franchisee's employees do not have the opportunity to first process
             the Unsolicited Order through FieldLocate or another Scheduling System before rendering the Services to
             such new Customer, Franchisee may service such Unsolicited Order provided that immediately after
             completion of the Unsolicited Order, Franchisee shall process the Unsolicited Order through FieldLocate
             or another Scheduling System providing all the particulars of the Unsolicited Order including the name
             and address of the customer, the amount charged for the Services and the date on which the Unsolicited
             Order was made and completed.

                              4.3.6   Customer Care Center Fund. Franchisee agrees that:

                             (a)    Franchisor shall maintain a fund to finance the operation of the Customer Care
             Center and FieldLocate or another Scheduling System (the "Customer Care Center Fund");

                              (b)     Franchisee shall contribute to the Customer Care Center Fund an amount equal to
             four percent (4%) of Gross Revenue (the "Customer Care Center Fee"). The Customer Care Center Fee
             shall be paid to Franchisor monthly in accordance with Section 4.2 of this Agreement;

                              (c)      except as expressly provided for in this Section 4.3, Franchisor assumes no
             obligation or liability to Franchisee with respect to the maintenance, direction, or administration of the
             Customer Care Center, FieldLocate or another Scheduling System, or Customer Care Center Fund.
             Franchisor shall have the sole right and responsibility to control and direct the policies, direction,
             administration, and operation of the Customer Care Center and FieldLocate or another Scheduling System.
             Franchisee is not a third party beneficiary and shall have no right to enforce any contributions from other
             franchisees or the administration of the Customer Care Center Fund. Any obligation of Franchisor with
             respect to the Customer Care Center Fund shall be contractual in nature and it shall not constitute a trust
             fund;

                             (d)    Franchisee shall fully participate in all programs established by Franchisor
             involving the Customer Care Center and FieldLocate or another Scheduling System; and




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                              (e)      In the event of surplus funds at the end of any year, such funds will be applied to
            one or more of the following, in any combination as may be determined in Franchisor's absolute discretion:
            (i) carried forward and applied to the next year's operating costs, (ii) used for general advertising, or
            (iii) distributed pro rata to Franchised Businesses that contributed to the Customer Care Center Fund for
            that year. In the event of a shortage of funds in the Customer Care Center Fund at the end of any year, the
            Franchisor shall have the right to contribute the shortage to the Customer Care Center Fund and deem such
            contribution an account receivable from the Customer Care Center Fund, to be paid back in the next year,
            without interest.

                     4.4     Van Leasing Management Fee. You shall pay $10 per month per van to us to manage our
             outside vendor relation with the provider of service vans for franchisees.

                      4.5     Scheduling Software Fees. You must pay for user license for Scheduling Software and
             credit card POS systems as we designate. At present, user license are $60 per user per month and you will
             need at least four licenses to start your business. You will also need two credit card licenses at $10 per
             month. We reserve the right to vary these terms through our Manual or other notice to you and the dollar
             amounts charge may change.

                    4.6    GPS Tracking with Geo Tab. At present you must pay $30 per month per van to Enterprise
             Fleet Management for GPS Tracking with GeoTab for your vans. We reserve the right to vary the dollar
             amount and payee upon a change in the fee or vendor designation.

                     4. 7    Bookkeeping Software. You must use Quickbooks online for your business bookkeeping
             which presently costs $200 per year that you pay to Quickbooks. You must use Qbox to host your
             Quickbooks files. The monthly cost per user is $50. The fee is paid to Qbox. We reserve the right to vary
             the vendor designation and their fees may change from time to time.

                     4.8     National Account Fees. For National Account clients, we and the client may negotiate
             prices. If you accept a job offered by a national account client, you agree to charge the negotiated price.
             You do not have to accept a national account job offered to you. When we handle billing or invoicing
             on national account clients, we mark up the customer invoice approximately 1-20% and may
             impose certain other fees or fee splits. You agree to these mark ups, fees and fee splits.

                    4.9     Third Party Charges. If we pay monies to a third party on your behalf, you agree
             to reimburse these costs to us plus a reasonable fee for our administrative costs.

                      4.10    Flight Control Licenses. You agree to pay to us $50 per month per license for a minimum
             of three (3) Flight Control Licenses, for the customer management software that we have developed. We
             reserve the right to change the designated customer management software and fee amount.

             5.      SITE SELECTION

                      5.1      Site Selection - General. In conjunction with signing this Agreement, Franchisor and
             Franchisee shall agree on an area in which the Franchised Business shall be located by Franchisee. This
             area shall be listed on Attachment 1. Franchisee must locate its Franchised Business within this area.
             Franchisee shall select a specific location for the Franchised Business using the criteria provided by
             Franchisor and subject to final approval by Franchisor. Franchisor does not guaranty the success or
             suitability of any specific location.

                      5.2      Site Selection Criteria. Site selection criteria are set forth in the Operations Manual. Some
             of the criteria are confidential. However, they include such factors as proximity to parking, street visibility,
             the demographics of nearby population centers, and so forth.


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             6.      PROMOTION AND ADVERTISING

                    6.1      Local Advertising. Franchisee is expected to develop a marketing plan for its local market.
            In order for the business to reach the maximum potential which the market allows, Franchisee must have
            an ongoing set of marketing activities designed to generate demand within the local market. Franchisor
            will provide Franchisee with initial training to help Franchisee implement a local marketing program
            effectively and in a cost-effective manner. At present, you must also pay $300 per month to our designated
            vendor to cover website management expenses. We may vary the nature of this program and the dollar
            amount in the Manual or otherwise over time. In addition:

                     (a) Approval of Advertising. Franchisee must submit to Franchisor for its approval, which
                     approval shall not be unreasonably withheld or delayed, all local advertising and promotional
                     material, including in-store displays and promotions, to be utilized by Franchisee and until such
                     time as Franchisor shall give its prior written approval to the use of such advertising and
                     promotions, Franchisee shall not utilize same in any advertising or promotion. In no event will
                     Franchisor take more than 15 days either to approve or to reject such local advertising or promotions
                     material. Franchisor reserves the right to adopt any such advertising or promotions for general use
                     in advertising or promoting the Services. Franchisee, in submitting any such advertising or
                     promotions, agrees that each such submission shall constitute an irrevocable and perpetual
                     assignment to Franchisor of the copyright with respect to such submission, and upon each such
                     submission the contents thereof shall be deemed the exclusive property of Franchisor;

                     (b) Displays ofSigns. Franchisee shall prominently display, at its expense, in connection with the
                     Franchised Business signs of such nature, form, color, number, location and size and containing
                     such matter as Franchisor may direct or approve in writing from time to time and such signs shall
                     be purchased from Franchisor or from suppliers designated or approved by Franchisor;

                     (c) Franchisor as Owner of Copyrights. Franchisee acknowledges that Franchisor is the sole and
                     exclusive owner of all copyrights and that all advertising and promotional material (including
                     Copyrighted Materials) prepared by or on behalf of Franchisor shall at all times remain the property
                     of Franchisor; and

                     (d) Prohibited Displays. Franchisee may not distribute or display at the Franchised Business, or
                     allow to be distributed or displayed at the Franchised Business, any signs, posters, or other items
                     that may (i) associate the Intellectual Property and Program with political, religious, or social
                     groups or movements; or (2) bring discredit to the Intellectual Property or Program.

                     (e) Verification of Spending. Franchisee agrees to submit proof of adequate spending, which we
                     shall reasonably determine based upon the maturity of your business, on local advertising to
                     Franchisor within ten (10) days of written request by Franchisor.

             7.      PRODUCTS AND SERVICES OFFERED

                     7 .1     Product Mix. Franchisees must offer to the public all products and services as specified
             by Franchisor. At present, this includes, locksmith and security services and products for commercial,
             residential and automotive customers. Franchisee must offer all of the products and services that Franchisor
             designates are part of the Program, and nothing else, except with Franchisor' s written approval
             beforehand. Franchisor may require Franchisee to (i) change, add or discontinue particular products or
             services; and (ii) add, modify and discontinue certain designated vendors of designated goods or services
             or recommended vendors of non-designated goods or services.

                     7 .2     Changes to Product Mix. Franchisor reserves the right to add or delete additional products
             over time and as market conditions warrant. For example, at a later date, Franchisor may expand the product

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             offerings to include other security products or services. These changes may increase Franchisee's operating
             expenses. Franchisor will communicate all changes by written or electronic bulletins or revisions to the
             confidential Operations Manual. There is no limit on the frequency that Franchisor may impose these
             modifications. Franchisee will be given a reasonable time period after notice in which to implement other
             changes including the introduction of new product offerings. Franchisee may not place new orders with
             any vendors whom Franchisor removes from the approved list.

                     7 .3    Purchase ofProducts from Franchisor. Franchisee agrees to purchase only such products
             and other items from Franchisor as specified in the Operations Manual and in such quantities as reasonably
             specified by Franchisor for satisfactory operation of the Franchised Business.

                      7.4 Limitations on Products and Methods ofSale. Franchisee agrees to limit sales only to retail
             transactions of authorized products and services to retail customers. Franchisee agrees not to engage in
             wholesale sales of any kind without the prior written consent of Franchisor. "Wholesale sales" includes
             the sale or distribution of products or services to a third party for resale, retail sale or other method of
             distribution (for example, supplying a hardware store with products). Franchisee is not permitted to engage
             in online or Internet sales of any products.

                     7.5    Reservation of Franchisor Distributor Rights. Franchisee agrees and acknowledges that
             Franchisee does not have exclusive or preferential rights to Franchisor's Intellectual Property, the Program,
             or the Confidential and Proprietary Material. Franchisee agrees and acknowledges that this Agreement
             does not in any way limit Franchisor' s use of Franchisor's Marks, intellectual property, the Program, or
             Confidential and Proprietary Material anywhere or for any purpose that is not reserved to the Franchisee in
             this Agreement.

             8.      OPERATION OF FRANCHISED BUSINESS

                     8.1     Standards of Operation. Franchisee acknowledges that the Intellectual Property, the
             Program, the Confidential and Proprietary Material, and every other component of the Program are
             important to Franchisor and its franchisees, and Franchisee and its general manager(s) covenants and agrees
             to comply with the Program, in its entirety as outlined in the Operations Manual which may be modified
             by the Franchisor from time to time, and in particular Franchisee covenants and agrees that Franchisee
             shall:

                     (a)      ensure that the operation of the Franchised Business is at all times under the direct control
                              of the Franchisee or General Manager(s) as provided in Section 11. 1. When the person
                              exercising direct control is absent from the Franchised Location due to illness, vacation or
                              any other reason, Franchisee shall ensure that the Franchised Business is under the direct
                              control of a member of the Management Personnel or a trained representative or employee
                              of Franchisee approved in advance by Franchisor in its discretion;

                      (b)     operate the Franchised Business strictly in accordance with the standards of customer
                              service, cleanliness, environmental safety, consistency, operation, advertising, promotion
                              and management prescribed by Franchisor in the Operations Manual and by law;

                      (c)     comply with all business policies, practices and procedures prescribed by Franchisor and
                              outlined in the Operations Manual and this Agreement;

                      (d)     keep the Franchised Business continuously open for business during all hours and days
                              specified in writing by Franchisor from time to time, subject to compliance with the hours
                              of operation required by local laws, if applicable;



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                     (e)     prepare and sell to the public only the products and services designated or approved in
                             writing by Franchisor from time to time;

                     (f)     maintain the Franchised Business in a clean and attractive condition so as to preserve,
                             maintain and enhance the reputation and goodwill of the Franchisor;

                     (g)      not alter, modify or otherwise change, add to or delete from any portion of the Intellectual
                              Property, the Program, or the Confidential and Proprietary Material as licensed hereunder;

                     (h)      maintain at all times a sufficient number of properly trained employees to service
                              customers of the Franchised Business, and maintain an inventory of goods and supplies
                              sufficient to satisfy customer demand;

                     (i)      hire and supervise efficient, competent, sober and courteous operators and employees for
                              the operation of the Franchised Business and set and pay their wages, commissions,
                              benefits and incentives without any liability or obligation to Franchisor;

                     G)       cause all employees, while engaged in the operation of the Franchised Business, to wear
                              uniforms of the color, design and other specifications only in accordance with the
                              provisions of the Operations Manual, or in such manner as may be approved in advance in
                              writing by Franchisor, and to present a neat and clean appearance and render competent
                              and courteous service to the customers of the Franchised Business;

                     (k)      use, publish or display in connection with the operation of the Franchised Business only
                              the signs, advertising or other materials designated or approved by Franchisor from time
                              to time;

                     (1)      operate the Franchised Business only under the Marks, as designated by Franchisor,
                              without any accompanying words or symbols of any nature except as designated or
                              approved in writing by Franchisor;

                     (m)      make prompt payment in accordance with the terms of invoices rendered to Franchisee in
                              connection with the purchase of all inventory, fixtures, equipment, supplies, advertising
                              materials, clothing, products and any other goods, supplies, services or products supplied
                              to Franchisee from time to time;

                     (n)      obtain and maintain in force all required licenses, permits, approvals, and certificates
                              relating to the operation of the Franchised Business and operate the Franchised Business
                              in full compliance with all applicable laws and regulations, including but not limited to, all
                              governmental regulations relating to environmental safety, occupational health and safety,
                              ERISA, workers' compensation insurance, unemployment insurance, withholding and
                              payment of all federal and state taxes including without limitation FICA, FUTA, income
                              tax, sales tax and personal property tax, use tax and license fees;

                     (o)      advise all suppliers, contractors, employees and others with whom Franchisee deals, that
                              Franchisee is an independent contractor and that all debts, liabilities and obligations
                              incurred by it are for the account of Franchisee only, and not Franchisor;

                     (p)      faithfully observe and perform in a timely fashion all covenants to be observed and
                              performed by Franchisee pursuant to any lease for the Franchised Business location or the
                              equipment therein;                                         ·




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                     (q)      conduct all advertising and use all media in accordance with lawful business practices and
                              only in accordance with the provisions of the Operations Manual, or in such manner as
                              may be approved in advance in writing by Franchisor;

                     (r)      attend all franchise conferences and meetings as required by Franchisor from time to time;

                     (s)      participate in such programs as Franchisor may require from time to time, including the
                              servicing of national, system-wide or other special accounts as may be designated in the
                              Operations Manual, or in such manner as may be approved in advance in writing by
                              Franchisor, including provision of service-levels as may be required for specified accounts
                              and the use and honoring of gift certificates and coupons;

                     (t)      replace such items of equipment which have become obsolete or otherwise mechanically
                              impaired, to the extent they require replacement, or as required by Franchisor from time to
                              time;

                     (u)      identify Franchisee as an "independently owned and operated business" on all invoices,
                              contracts, agreements, correspondence and other materials and communications used in the
                              Franchised Business and not make any registration of any of the Intellectual Property that
                              would grant or suggest Franchisee has ownership of the Intellectual Property; and

                     (v)      use an accounting system and program acceptable to Franchisor.

                      8.2     Proposed Goods and Services. If Franchisee proposes to offer for sale through the
             Franchised Business any good or service not previously designated or approved by Franchisor, then
             Franchisee must first submit the proposed good or service description to Franchisor for consideration and
             approval. Franchisor will consider the proposed goods or services and respond to Franchisee within a
             reasonable time as to whether or not it is approved for sale through the Franchised Business. Franchisor
             reserves the right to make alterations to the proposed good or service as a condition of approval. Franchisor
             also reserves the right to adopt any such good or service for use as a standard item forming part of the
             Services so as to maintain consistency and enhance the Program. Franchisee, in submitting any such
             proposal to Franchisor agrees that Franchisor may take such action, that each such submission by
             Franchisee to Franchisor shall constitute an irrevocable and perpetual assignment of the copyright and
             waiver of moral rights for the service to Franchisor, and upon each such submission shall be deemed to be
             part of the Program of Franchisor.

                     8.3     Pricing. Franchisor will deliver to Franchisee, prior to the Scheduled Opening Date,
             Franchisor's current list of suggested prices for the goods and services it will sell, which may vary among
             various franchises. Franchisor will give Franchisee written notice of all changes to suggested prices
             (including any temporary promotional changes). Franchisee is under no obligation to adhere to the
             suggested prices, but should be aware that promotional and marketing materials and campaigns prepared
             and provided by the Franchisor may include such prices.

                     8.4      Program Changes. Franchisor may from time to time, by written notice to Franchisee,
             add to, delete, modify or otherwise change the Program, including without limitation by deleting or
             adopting new or modified Marks, new or enhanced services, and new techniques in connection therewith.
             Franchisee will, at its own cost, within a reasonable amount of time following receipt of such notice, accept,
             implement, use and display all such changes.

                      8.5     Purchase Arrangements and Rebates. Franchisor reserves the right to negotiate and to
             enter into purchase arrangements and rebate agreements with suppliers of products or services used in the
             Program, including products or services that must be purchased by Franchisee. Should Franchisor receive
             any discounts, rebates, or other monetary compensation from vendors, then Franchisor shall contribute one

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            half of all amounts actually received by Franchisor to the Franchise Promotional Fund. The other half shall
            be retained by Franchisor.

            9.          CUSTOMER METHODS OF PAYMENTS; PAYMENTS TO SUPPLIERS

                    9.1      Credit Cards and Other Methods of Payment. Franchisee will maintain arrangements
            with Visa, MasterCard, American Express, Discover and additional or replacement credit card and debit
            card issuers or sponsors nominated by Franchisor from time to time, in order that the Franchised Business
            may accept customers' credit cards, debit cards, checks and other methods of payment. Whenever
            Franchisor designates a new payment system or financial institution for the Program, Franchisee agrees to
            adopt the designated system promptly.

                     9.2     Payments to Suppliers. Franchisee will make all payments to Franchisor and suppliers
            when due and provide proof of payment to Franchisor upon request. Franchisee acknowledges that failure
            to timely pay a supplier could harm the reputation of the Program and the relationship of Franchisor and its
            other franchisees with such supplier. If Franchisee fails to pay any supplier in full when due, then
            Franchisor shall have the right, but not the obligation, to pay all or any portion of the sum due, together
            with accrued interest and penalties. If Franchisor makes any such payment, then Franchisor may invoice
            Franchisee for such payment and Franchisee shall reimburse Franchisor immediately upon receipt of the
            invoice, or Franchisor may withhold and pay to the supplier such sums from any monies owed to Franchisee
            by Franchisor or third parties, which such monies pass through Franchisor.

             10.        RECORDS AND REPORTING

                      10.1     Sales Records. Franchisee shall keep true and accurate records and books of account in
             relation to the Franchised Business, including daily records of services to individual customers and of Gross
             Revenue, in such form and detail as Franchisor in writing requires from time to time.

                     10.2    Preservation of Records. Franchisee shall keep and preserve for a period of at least 36
             months after the end of each year all books and records (including point of sale records, computer generated
             records and evidence of all sources and amounts of individual sales and Gross Revenue) related to such
             year.

                        10.3   Weekly, Monthly, and Annual Reporting.          Franchisee shall report to Franchisor as
             follows:

                        (a)    On the first Tuesday following the week for which the Royalty payment is due, Franchisee
                               shall provide Franchisor with a report in electronic form ("Report") containing:

                                   (i) a correct and complete statement of all sales and Gross Revenue for the preceding
                                   Monday through Sunday time period; and

                                   such other financial information as Franchisor may require from time to time.

                               The Report shall contain all information noted therein and shall be certified as correct by
                               Franchisee. Upon request by Franchisor, Franchisee will supply copies of some or all of
                               the sales records (in all relevant media) related to the period being reported on. With each
                               Report, Franchisee shall pay to Franchisor the Royalty payable for such period in
                               compliance with Section 4.2.

                        (b)    monthly profit & loss statements and balance sheets using the format designated by
                               Franchisor; and



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                     (c)      within 90 days after the end of each fiscal year of Franchisee, Franchisee shall submit to
                              Franchisor (in electronic form whenever possible) the following information concerning
                              such fiscal year, certified as correct by Franchisee:

                                  (i) a statement of Gross Revenue and individual products sold for such year as finally
                                      adjusted and reconciled after the close and review of Franchisee's books and
                                      records for the year. If such statement discloses any underpayment of Royalties for
                                      such year, then Franchisee shall pay to Franchisor, at the time of submitting such
                                      statement, the amount of such underpayment. Any overpayment disclosed by such
                                      statement shall be credited to Franchisee's Royalty account by Franchisor;

                                  (ii) complete financial statements, including balance sheet, income statement and
                                       statement of changes in financial position, all prepared in accordance with U.S.
                                       generally accepted accounting principles applied on a basis which is consistent
                                       with prior fiscal years of Franchisee;

                                  (iii)Federal and State tax returns; and

                                  (iv) such other reports and financial information (including up-to-date personal
                                       financial information concerning guarantors of Franchisee, if applicable) as
                                       Franchisor may reasonably require from time to time.

                      10.4    Inspection and Audit Rights. Franchisor and any of its representatives shall be entitled,
             during the regular business hours of the Franchised Business and without undue disturbance to it, to enter
             the premises of the Franchised Business to inspect and take copies of all paper and electronic records of
             Franchisee relating in any way to the Franchised Business, whether or not of a financial nature, all without
             prior notice to Franchisee. Franchisor may cause its auditor to conduct an audit of the Franchised Business
             for any fiscal year of Franchisee or any calendar year or time period. Franchisee consents to the Franchisor
             directly contacting and obtaining information from any creditors or suppliers of the Franchisee. Upon
             request by Franchisor, Franchisee will: (i) allow Franchisor and its representatives access to at all
             reasonable times; or (ii) forward to Franchisor any and all business and financial records of the Franchised
             Business, including financial statements, accounting records, federal and state income, sales, business and
             occupation and other tax returns of Franchisee at any time and the opportunity to take copies thereof at
             Franchisor's expense. If any such audit reveals a material deficiency (3% or more error), whether monetary
             or otherwise, then the Franchisee shall reimburse the Franchisor for the reasonable costs of the audit and
             any related enforcement.

                      10.5    Notice to Meet Standards. Should any inspection or audit reveal any non-compliance with
             the Program or failure to meet the standards of operation, management, production, employee training,
             service, cleanliness, environmental safety, consistency, quality control or advertising and promotion set by
             Franchisor from time to time, then Franchisee shall immediately upon receipt of notice from Franchisor
             specifying the particulars of the non-compliance or failure by Franchisee, do all things necessary to correct
             the non-compliance or failure, in addition to co-operating with the representatives of Franchisor in respect
             of any training or retraining determined necessary by Franchisor.

                     10.6    Corporate Records. If Franchisee is an entity, Franchisee will complete and remit
             Franchisor's company information form, and provide such other information and certificates regarding the
             company structure of Franchisee as required by Franchisor, and Franchisee agrees to update such
             information from time to time.




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             11.     MANAGEMENT AND EMPLOYEES

             I 1.1    Management Personnel. Franchisee or, if Franchisee is an entity, its managers, key owners and
             key management personnel (or any replacement(s) approved in writing by Franchisor) shall complete initial
             training to the satisfaction of Franchisor prior to the Scheduled Opening Date, unless waived in writing by
             Franchisor in its sole discretion for any particular person(s). Once approved, Franchisee will cause
             Management Personnel to participate, on a full-time working basis (i.e., a minimum of 40 hours per week),
             in the management and operation of the Franchised Business. Franchisee shall verify that all Management
             Personnel have the legal right to work in the United States.

                      The Management Personnel named first in Attachment I shall be the initial general manager of the
             Franchised Business (hereinafter called the "General Manager," which term shall include every other person
             who in the future acts as a general manager of the Franchised Business). Franchisee shall ensure that every
             person who acts as General Manager from time to time is not ( while so acting) engaged in any retail business
             activity other than the Franchised Business. Like other initial Management Personnel, the General Manager
             must participate on a full time basis (i.e., a minimum of 40 hours per week) in the operation of the
             Franchised Business.

                      11.2     Employees. Franchisee will hire all employees of the Franchised Business, and shall be
             responsible exclusively for payment of wages, benefits, statutory remittances and compliance with other
             terms and conditions of their employment and for the proper training of them in the operation of the
             Franchised Business. Franchisee will designate a senior locksmith to attend training who is then responsible
             for certifying all future locksmiths hired. At the direction of Franchisor, Franchisee will cause such
             employees as may be designated by Franchisor who are not involved in initial training to complete training
             programs developed by Franchisor. Franchisee will be solely responsible for all direct and indirect costs of
             such training in accordance with sections 14.1 and 14.2. Franchisee shall verify that all employees have
             the legal right to work in the United States.

                      11.3   Salesperson. Franchisee agrees to hire and maintain a full time sales person (40 hours per
             week) on field sales activities. If and when your business grows to the point that you have five Vehicles in
             service, you agree to hire and maintain a second full time sales person. We reserve the right to vary these
             requirements in the Manual.

             12.  LICENSE, USE OF MARKS AND COPYRIGHTED MATERIALS, CONFIDENTIAL
             INFORMATION AND KNOW-HOW

                      12.1    Nature of Permission. The permission granted by this Agreement is to use the Program,
             Intellectual Property, and the Confidential and Proprietary Material only in connection with operation of
             one Franchised Business (unless otherwise agreement in writing) during the Term. Nothing in this
             Agreement shall give Franchisee any other right, title or interest in or to any part of the Program, Intellectual
             Property, or the Confidential and Proprietary Material. Franchisee acknowledges that Franchisee's use of
             the Program, Intellectual Property, and the Confidential and Proprietary Material and any goodwill
             established by such use inures to the exclusive benefit of Franchisor. You may not directly or indirectly
             oppose our right to our trademarks, trade names, trade secrets or business techniques that are part of our
             business.

                      12.2     Use of Name and Marks. Franchisee shall operate the Franchised Business continuously
             throughout the Term and any duly exercised Renewal Term under the name The Flying Locksmiths
             (including use of™ or® as appropriate) or such alternate name or names as Franchisor may direct in
             accordance with the provisions of the Operations Manual, or in such manner as may be approved in advance
             in writing by Franchisor from time to time, and Franchisee's name shall be clearly marked on all
             documented and electronic representations of the Franchised Business as well as on all Franchisee's
             advertising, stationery, business cards, purchase orders, sales slips, checks, and other business documents

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            in a manner specified or approved by Franchisor and which clearly indicates that Franchisee is the person,
            firm or corporation, as the case may be, operating the Franchised Business pursuant to permission from
            Franchisor. Franchisee shall use®, TM or some other symbol directed by Franchisor, to indicate to the
            public that each of the Marks is a trademark belonging to Franchisor and shall in such usage clearly indicate
            this by using the phrase "Trademark rights owned by The Flying Locksmiths, Inc." or some other phrase
            designated or approved by Franchisor. Franchisee shall not use, as part of the corporate name of any
            corporation or other business entity which may operate the Franchised Business (or any other corporation
            or business entity in which Franchisee has any interest), any of the Marks or any variation or derivative
            thereof or any word or phrase or combination of words confusingly similar thereto, nor may Franchisee use
            the Marks in connection with the sale or offering for sale of any item which has not been properly approved
            for sale pursuant to this Agreement. All provisions of this Agreement applicable to the Marks shall apply
            to any additional proprietary trade and service marks and commercial symbols hereafter authorized by
            Franchisor for use by Franchisee from time to time.

                     You cannot use any of the Marks as a part of any corporate name with any prefix, suffix or other
             modifying words, terms, designs or symbols. In addition, you may not use any name or mark associated
             with the sale of any unauthorized product or service in any other manner not explicitly authorized in writing
             by us.

                      12.3     Use of Copyrights. Franchisee acknowledges that Franchisor is the owner of the copyright
             in the Operations Manual and all other systems, binders, videotapes, software, and printed materials which
             from time to time form part of the Program (as well as all revisions and additions of or to any of the
             foregoing), which is all part of the Confidential and Proprietary Material. Franchisee acknowledges that
             Franchisee's right to use the Confidential and Proprietary Material is derived solely from this Agreement
             and is limited to the conduct of business by Franchisee pursuant to and in compliance with this Agreement
             and all applicable specifications, standards and operating procedures prescribed in writing by Franchisor
             during the Term and any exercised Renewal Term. Any unauthorized use of any of the Confidential and
             Proprietary Material by Franchisee shall be an infringement of the rights of Franchisor in and to the
             Confidential and Proprietary Material and shall constitute a breach of this Agreement. Franchisee agrees
             not to contest or oppose, nor to assist anyone else to contest or oppose, Franchisor's application for
             registration or protection of any of copyright or trademark in the United States or elsewhere. Franchisee
             will ensure that all Confidential and Proprietary Material used by Franchisee bear whatever notice, may be
             prescribed from time to time in writing to Franchisee by Franchisor.

                      12.4 Notification of Infringement. Franchisee shall notify Franchisor immediately upon
             learning of any apparent or potential infringement of or challenge or claim to any of the Intellectual Property
             or any of the Confidential and Proprietary and Franchisee shall not communicate with anyone other than
             Franchisor and its legal counsel in connection with any such infringement, challenge or claim. Franchisor
             shall have sole discretion to take such action as it deems appropriate and the right to control exclusively
             any litigation or other proceeding arising out of any such infringement, challenge or claim, and Franchisee
             agrees to execute all documents, to render such assistance and to do all acts and things as may, in the opinion
             of Franchisor or its legal counsel, be necessary or advisable to protect and maintain the interests of
             Franchisor in any such litigation or other proceeding or otherwise to protect and maintain the interests of
             Franchisor and its franchisees in the Intellectual Property and the Confidential and Proprietary Material.

                     12.5     Act in Derogation of Franchisor's Rights. Franchisee acknowledges that all goodwill and
             ownership rights arising out of the use by Franchisee of the Program, Intellectual Property, and the
             Confidential and Proprietary Material shall accrue solely to Franchisor and the Program as a whole, and
             that now and hereafter Franchisee shall assert no claim to any goodwill by virtue of the permitted use
             thereof. Franchisee will not dispute or impugn the validity of any of the Intellectual Property or
             Confidential and Proprietary Material or the rights of Franchisor thereto, or do or assist others to do or
             permit any act or thing to be done in derogation of same. Franchisee will take such action (including


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             signature and assistance in preparation of documents or the giving of testimony) as may be requested by
             Franchisor to evidence, transfer, vest or confirm the Company's rights and ownership in the Intellectual
             Property, the Confidential and Proprietary Material, and any other part of the Program. If Franchisor is
             unable for any reason to secure Franchisee's signature to fulfill the intent of this paragraph, then Franchisee
             irrevocably appoints the Franchisor and its authorized agents as agent and attorney in fact, to transfer, vest
             or confirm Franchisor's rights and to execute and file any such applications and to do all other lawful acts
             to further the intent of this Section with the same legal force as if done by Franchisee.

                       12.6    Changes in Marks and Copyrighted Materials. If Franchisor deems it advisable to modify
             or discontinue use of any of the Intellectual Property or Confidential and Proprietary Material, or to adopt
             for use in the Program any additional or substitute marks or copyrights, then Franchisor shall give written
             notice thereof to Franchisee whereupon Attachment 2 hereto shall be deemed to be amended accordingly
             and Franchisee shall promptly comply with such amendment. All provisions of this Agreement applicable
             to Intellectual Property and/or Confidential and Proprietary Material shall apply to all additional, substituted
             or modified Intellectual Property and/or Confidential and Proprietary Material hereafter adopted by
             Franchisor or its Affiliates and authorized for use by Franchisee by written notice.

                      12.7    Use of Know-How. Franchisee acknowledges that Franchisor possesses know-how
             comprised of methods, techniques, specifications, materials, procedures, information, systems and
             knowledge of and experience in the provision of the goods and services through the Franchised Business
             (collectively, the "Know-How"). This Know-How is part of the Confidential and Proprietary Material.
             Franchisor will disclose the Know-How to Franchisee in the training program, the Operations Manual and
             in guidance furnished to Franchisee during the Term and any exercised Renewal Term. Franchisee will not
             acquire any proprietary interest in the Know-How or any part of it, other than the right to use it in the
             development and operation of the Franchised Business during the Term and any duly exercised Renewal
             Term, in full compliance with this Agreement. Franchisee acknowledges that the Know-How is proprietary
             and, except to the extent that it is or becomes generally known in the locksmith industry, the Know-How
             and every part of it comprises a valuable trade secret of Franchisor.

                       12.8    Confidential Information. Franchisee acknowledges that the designs, materials and other
             features of the Program, as well as the Confidential and Proprietary Material, which includes, but is not
             limited to, the Know How, supplier lists, product ingredients, production methods, equipment used, and
             related techniques, procedures, methods, financial information, passwords, systems and format now and
             hereafter comprising the Program, which is revealed to Franchisee, is confidential information. This
             confidential information is revealed in strictest confidence to Franchisee and Franchisee covenants to keep
             and respect the confidence so reposed. Franchisee shall neither use nor permit any of its directors, officers,
             shareholders, employees, agents or other representatives to use for any purpose inconsistent with this
             Agreement nor reveal to any person, firm or corporation, both while this Agreement is in force and for an
             unlimited time thereafter, any confidential information which Franchisee has acquired through or as a result
             of its relationship with Franchisor. Franchisee will cause the employees of the Franchised Business to sign
             a form of confidentiality covenant prepared by Franchisor.

                      12.9    Proprietary Rights to Program and Operations Manual. Franchisee acknowledges that
             Franchisor is the sole and exclusive owner of all proprietary rights in and to the Program and that the
             information revealed in the Operations Manual constitutes Confidential and Proprietary Information and
             copyrighted material. Without the prior written consent of Franchisor, which Franchisor can withhold in
             its sole and absolute discretion, Franchisee shall not use the contents of the Operations Manual for any
             purpose not related to this Agreement, shall not disclose the contents of the Operations Manual to any
             person (except to employees of Franchisee on a need to know basis for purposes related solely to the
             operation of the Franchised Business) and shall not publish, reprint or reproduce the Operations Manual in
             whole or in part for any purpose. Franchisee shall take all safeguards and precautions specified by
             Franchisor from time to time or as would be expected to be exercised by a careful person entrusted with


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            valuable property of another, to protect and maintain the confidentiality of the Operations Manual. The
            covenants contained in this Section 12.9 will survive the termination of this Agreement for such period of
            time as such information remains confidential to Franchisor and does not fall into the public domain.
            Franchisor reserves the right at any time upon written notice to Franchisee to more particularly specify or
            define any items of information or materials which Franchisor considers to be confidential information for
            the purposes of the ongoing application and survival of Franchisee's covenants herein. Franchisee hereby
            acknowledges that the Operations Manual is loaned to Franchisee and shall at all times remain the sole and
            exclusive property of Franchisor, and upon the expiration or termination of this Agreement for any reason
            whatsoever, Franchisee shall forthwith return the Operations Manual together with all copies of any portion
            of the Operations Manual which Franchisee may have made, to Franchisor. Franchisee acknowledges and
            agrees that Franchisor may make additions, deletions and other revisions to the Operations Manual from
            time to time, in its sole discretion.

             13.     FURTHER OBLIGATIONS OF FRANCHISEE

                  13. l        Compliance with Operations Manual. Franchisee shall conduct the Franchised Business
             strictly in accordance with all of the provisions set out in the Operations Manual, as amended from time to
             time. In particular, Franchisee shall promptly adopt and use exclusively the specifications, standards,
             methods and policies contained in the Operations Manual, now, and as they may be modified by Franchisor
             from time to time.

                  13.2        Signage. Any signage procured for the Franchised Business will conform to Franchisor's
             specifications. Franchisor will provide written specifications for such signage to Franchisee upon request.
             When signage is procured pursuant to a lease, the lease must be assignable to Franchisor and Franchisee
             will submit such lease to Franchisor for its written approval prior to executing it.

                  13.3       Standards of Service. Franchisee and employees of the Franchised Business will at all
             times give prompt, courteous and efficient service to customers, and will, in all dealings with customers,
             suppliers and the public, adhere to the highest standards of honesty, integrity, fair dealing and ethical
             conduct. Franchisee will respond to customer, supplier and public complaints in a prompt, courteous and
             efficient manner.

                 13.4        Taxes and Rents. Franchisee will pay in a timely manner all local, state and federal sales,
             business, property, goods and services taxes and all other taxes, rates, levies and fees levied or assessed by
             any governmental authority directly or indirectly in connection with the Franchised Business.

                13.5        Compliance with Laws. Franchisee will operate the Franchised Business in strict
             compliance with all applicable laws and regulations.

                  13.6       Sufficient Staff. Franchisee will at all times employ a sufficient number of properly
             trained, courteous and service oriented staff to properly operate the Franchised Business during normal
             business hours.

                 13.7        Inspection Rights. Franchisee authorizes Franchisor and its representatives to enter the
             Franchised Business at any reasonable time or times to inspect the store and the inventory, fixtures,
             furnishings, and equipment therein, to confer with or otherwise contact Franchisee's employees, to examine
             and inspect the operation of the Franchised Business and in all respects to determine compliance with this
             Agreement (including the Operations Manual).

                 13.8        No Solicitation of Employees. Franchisee will neither employ nor solicit employment of
             anyone who is employed by Franchisor, any Affiliate of Franchisor, any other franchisee of the Program or
             any other franchisee of another system operated from time to time by Franchisor or any of its Affiliates,



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             without the prior written consent of the employer, unless the employee in question has ceased to be
             employed by such employer for a period of 90 days.

                  13.9        Hazardous Materials. Franchisee will not deal in any way with any hazardous materials
             in the operation of the Franchised Business.

                  13.10        Use of Media. Franchisee agrees that for purposes of advertising and public relations
             related to the Program, Franchisor may make, reproduce and publish in good taste photographs, videos and
             other media utilizing the Franchised Location and the employees and customers of Franchisee on an
             individual or collective basis. Franchisee will cooperate with Franchisor in this regard.

                13.11       Insurance. Franchisee will ensure that the following insurance coverages are placed and
             maintained during the entire Term and any duly exercised Renewal Term:

                     (a)      reasonable comprehensive public liability and property damage insurance, including
                              personal and boruly injury liability, contractual liability, employers' liability, and owners'
                              and contractors' protective insurance coverage with respect to the activities conducted by
                              Franchisee and any employee, agent or other person performing work on behalf of
                              Franchisee with respect to the Franchised Business, with a policy limit of not less than
                              $2,000,000 general liability coverage (including personal injury) or such greater amount
                              as may be specified in writing by Franchisor from time to time and not less than $1,000,000
                              per occurrence for personal and bodily injury liability and not less than $100,000 per
                              occurrence for damage to rental premises or such greater amount as may be specified in
                              writing by Franchisor from time to time, and not less than $5,000 medical coverage for any
                              one person or such greater amount as may be specified in writing by Franchisor from time
                              to time;

                     (b)      reasonable products liability/completed operations insurance with a policy limit of not less
                              than $2,000,000; and

                     (c)      reasonable business interruption insurance in respect of the Franchised Business with a
                              policy limit not less than that which may be prescribed by Franchisor from time to time.

                     ( d)     Owned and non-owned vehicle liability insurance with a policy limit of not less than
                              $1,000,000 per occurrence or such other amount as may be specified in writing by
                              Franchisor for any vehicle used to any extent in the Franchised Business; and

                     (e)      workers' compensation as required by local law.

                      The insurers, amounts and types of insurance shall be subject to prior written approval of
             Franchisor, which Franchisee will seek in a timely fashion. Franchisor may from time to time require that
             Franchisee cause such coverages to be added to or otherwise amended in accordance with recommendations
             of Franchisor's independent insurance advisor. The foregoing insurance coverages, as so amended from
             time to time, are hereinafter called the "Coverages."

                     Franchisor, acting reasonably, may elect, at any time, upon the recommendation of its independent
             insurance advisor, to require Franchisee, either individually or as part of a group of franchisees, to place
             the Coverages (or any them) through Franchisor, in which case Franchisee will pay its proportionate share
             (with other franchisees of the Program) of all costs thereof, upon receiving invoice(s) therefor.

                     All policies of insurance for the Coverages shall expressly include Franchisee, Franchisor, and
             Franchisor's Affiliates, as "franchisor/additional insured" and shall require the insurers to defend Franchisee



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            and Franchisor,jointly and severally, in all claims and actions to which the Coverages are applicable. Such
            policies shall require provision of 30 days' notice to Franchisor prior to any termination.

            Within 10 days of entering into any policy of insurance, and from time to time as such policies are renewed
            or entered into, Franchisee shall cause insurer to forward a certificate of insurance directly to Franchisor
            confirming the terms and coverages set forth in this Section 13.

                     Franchisee understands and acknowledges that Franchisor is not an insurance broker. Nothing done
             by Franchisor pursuant to this Section 13.11 shall constitute an assurance that Franchisee has adequate
             insurance for its assets, business and potential liabilities at the Franchised Business and Franchisee may
             place additional insurance as it sees fit, upon the advice of its own insurance broker.

                      13.12 Tools, locksmith equipment, inventory and vehicle. Franchisee must purchase items
             which conform with Franchisor's specifications and/or vendor designations. Franchisor will provide written
             specifications and any vendor designations for such items in the Operations Manual.

                      13.13 Fixtures and Equipment. Franchisee must purchase (or, ifappropriate, lease) the required
             fixtures, equipment and other items as set forth in the Operations Manual.

                      13.14 Maintain Minimum Capital. Franchisee will maintain, throughout the Term and any
             exercised Renewal Term, sufficient capital to operate the business and which amount may be determined
             by the Franchisor from time to time. Capital shall be calculated as the aggregate amount of cash in share
             capital and shareholders' loans maintained by a corporate Franchisee or cash contributed to the Franchised
             Business in the case of a personal Franchisee.

                     13.15 Grand Opening. Franchise shall hold a Grand Opening following the opening of the
             Franchised Business. The general requirements for the Grand Opening are set forth in the Operations
             Manual. Franchisor must pre-approve Franchisee's proposed Grand Opening budget and plan.

             14.     TRAINING AND FURTHER OBLIGATIONS OF FRANCHISOR

                     14.1      Training. Franchisor shall provide one initial training and certification session of 5 days
             of technical training for a lead locksmith and 5 days of business operations training for Franchisee. Within
             30 days of signing this Agreement, Franchisee shall provide Franchisor a Ii st of those attending training.
             The majority of the training will be held in the state of Massachusetts or at such another location the
             Franchisor selects. The scheduling of the actual training will be done so as to occur within 60 days of
             Franchisee's planned opening. The format and content of the training program will be determined solely
             by Franchisor. All expenses incurred by Franchisee and other trainees in connection with such training
             including without limitation those related to transportation, accommodation, meals and other living
             expenses, wages and other employment benefits shall be at the sole expense of Franchisee. Franchisor will
             not provide wages or employee benefits to Franchisee or other trainees during or with respect to the training
             period. Franchisee must attend and successfully complete initial training to Franchisor's satisfaction.

                     14.2 Retraining and Subsequent Training. In the event that Franchisee is not operating the
             Franchised Business in full accordance with the Program and this Agreement, which determination
             Franchisor shall make in its sole discretion, Franchisor shall have the right to require retraining of the
             Franchise, or the representatives and employees of Franchisee. Franchisee shall pay Franchisor $300 per
             day per person for this retraining. Franchisee is responsible for all out-of-pocket costs incurred in
             connection with such retraining, including all transportation, lodging and meal expenses. Any manager
             that Franchisee subsequently hires must also satisfactorily complete all or part the training and certification
             program. Franchisee must pay $300 per day per person for tuition and training materials. Franchisee is
             responsible for all out-of-pocket costs incurred in connection with such retraining, including all
             transportation, lodging and meal expenses.

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                     14.3    Initial and Ongoing Information, Goods and Services. Franchisor shall provide to
             Franchisee:

                     (a)     one Operations Manual on loan. This may be by online access with a password as opposed
                             to a "hard copy" of the manual;

                     (b)      additional training materials developed by Franchisor from time to time;

                     (c)      marketing materials and other sales aids developed by Franchisor from time to time (at
                              Franchisee's expense);

                     (d)      promotional advice and recommendations at the time when the Franchised Business opens
                              for business and ongoing promotional advice and recommendations on a reasonable basis
                              thereafter; and

                     (e)      inclusion of franchisee's location on The Flying Locksmiths website.

                     14.4     Continuing Consultation, Advice, and Activities

                     (a)      As and to the extent required in Franchisor's sole discretion, Franchisor shall provide
                              regular consultation and advice to Franchisee in response to Franchisee's inquiries about
                              specific administrative and operating issues that Franchisee brings to Franchisor 's
                              attention. Franchisor shall have sole discretion to determine the method for communicating
                              the consultation or advice, which may differ from the methods used for other franchisees.
                              For example, and without limitation, consultation and advice may be provided by
                              telephone, in writing (in which case Franchisor may furnish the information electronically),
                              on-site in person, or by other means.

                     (b)      If Franchisee requests additional on-site instruction and assistance after the Opening Date,
                              Franchisor may in its discretion furnish such training under the terms and conditions
                              mutually agreed.

                     (c)      Franchisor may implement a mystery shopper program using the services of an outside
                              mystery shopper company to perform regular mystery shopper visits at the Franchised
                              Business in order to provide Franchisor and Franchisee with critical feedback and insight
                              into the effectiveness of Franchisee's operations from a customer's perspective.

                     (d)      In addition to additional training, Franchisor may conduct an annual meeting at a location
                              that Franchisor selects (the "Annual Meeting") to address recently-implemented changes
                              in the System and other topics of common interest to franchisees, including, without
                              limitation, new merchandising approaches, changes in goods and services, vendor
                              relationships, industry trends, customer relations, personnel administration, local
                              advertising and promotional strategies, and competitive changes. If Franchisor chooses to
                              conduct an Annual Meeting, Franchisor will determine the content, location and length of
                              the Annual Meeting; provided, however, the Annual Meeting shall not exceed 3 days in
                              any 12 Calendar Month period. Franchisor may require the attendance of Franchisee's key
                              personnel at one or more Annual Meetings, provided, however, Franchisor shall not require
                              that more than 2 persons attend the Annual Meeting. Franchisee shall pay the
                              transportation, lodging, personal expenses and salary for each employee who attends an
                              Annual Meeting.




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                     (e)     As to the extent required in Franchisor's sole discretion, Franchisor will investigate and
                             conduct market research; monitor the activities of competitors; and continue to evaluate
                             additional products and suppliers then incorporated into the Program in order to maintain
                             and enhance the reputation and demand for The Flying Locksmiths products.

             15.     TERMINATION BY FRANCffiSEE

                     15.1   No Right to Terminate Contact. Franchisee may not terminate this Agreement unless
             otherwise provided by law.

             16.     REMEDIES UPON DEFAULT BY FRANCHISEE

                     16.1   Definition of "Material Default. " For the purposes of this Agreement, the phrase
             "Material Default" shall mean any one of the following defaults:

                     (a)      failure to pay any sum due to Franchisor, or any Affiliate or nominee of Franchisor,
                              Franchisee's landlord, any governmental authority, or supplier of any item of supplies for
                              a period of 30 days after written notice of such default has been delivered by Franchisor to
                              Franchisee;

                     (b)      failure to comply with any other obligation of Franchisee contained in this Agreement or
                              any other agreement between Franchisee and Franchisor or any Affiliate or nominee of
                              Franchisor for a period of 30 days after written notice of such default has been delivered
                              by Franchisor to Franchisee; provided, however, that if the nature of such default is such
                              that it cannot be cured within a 30 day period, and Franchisee takes reasonable action to
                              cure such default immediately upon receiving such notice and diligently continues to do
                              so, then Franchisee shall have such additional period of time as is reasonably necessary to
                              cure such default;

                     (c)      failure to commence operation of the Franchised Business on the Scheduled Opening Date
                              as provided herein or doing anything or omitting to do anything which causes the
                              Franchised Business to be closed for business or otherwise not operating in full compliance
                              with this Agreement for five (5) consecutive Business Days or any five (5) Business Days
                              in any 30 consecutive day period, without the prior written consent of Franchisor, uni ess
                              the Franchised Business ceased operation for reasons not related to a breach of this
                              Agreement by Franchisee including force majeure, strike, fire, natural disaster, or any other
                              cause beyond Franchisee's control and not caused or continued, directly or indirectly, by
                              an act or omission of Franchisee or any of its employees, directors, officers, members,
                              agents or other representatives; provided that Franchisee will diligently employ all
                              reasonable measures to resume the Franchised Business as soon as possible;

                     (d)      failure to remain in good standing under all leases, or doing or omitting to do anything else
                              which gives anyone the right to terminate a lease or take possession of the premises or
                              equipment;

                     (e)      (i) Franchisee becoming insolvent in that it is unable generally to pay its bills as they
                              become due, (ii) Franchisee sells or purports to sell or transfer or otherwise loses possession
                              or ownership or control of all or a substantial part of the assets used in the Franchised
                              Business, (iii) Franchisee allows any item of personal property used in the Franchised
                              Business to become attached, executed against or levied upon, without obtaining the
                              release of such attachment, execution, distress, levy, sequestration or extent within 10 days,
                              (iv) Franchisee allows any judgment to be entered against Franchisee or any ofits Affiliates
                              of which Franchisee has notice (actual or constructive) arising out of or relating to

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                              operation of the Franchised Business without satisfying such judgment or securing it by
                              payment into court within 30 days, or (v) Franchisee is enjoined from operating the
                              Franchised Business and such injunction is not dismissed, stayed or set aside within 30
                              days;

                     (f)      an assignment or attempted assignment, at law or at equity, of this Agreement by
                              Franchisee, including an involuntary assignment under applicable matrimonial laws, in
                              whole or in part, without obtaining the prior written consent of Franchisor as required by
                              this Agreement;

                     (g)      Franchisee or any of its directors, officers, members, employees, agents or other
                              representatives attempts to (or actually does) assign, transfer or convey any part the
                              Program, Intellectual Property, and/or Confidential and Proprietary Material, including any
                              copyrighted material; if Franchisee or any of its directors, officers, members, employees,
                              agents or other representatives breaches confidentiality provisions concerning any of the
                              foregoing; or if Franchisee or any of its directors, officers, members, employees, agents or
                              other representatives uses or permits the use of any of the foregoing in a manner or at a
                              location not authorized in advance in writing by Franchisor;

                     (h)      30 days after Franchisee's receipt of notice from Franchisor, Franchisee continually failing
                              to offer for sale any approved product or service, or offering to sell any product or service
                              from the Franchised Business that is not part a product or service designated or approved
                              in writing by Franchisor;

                     (i)      intentionally falsifying, misrepresenting or misstating to Franchisor any information
                              contained in a financial statement, report or other document which Franchisee provides to
                              Franchisor whether prior to or after the execution of this Agreement;

                     G)       Franchisee engaging in misleading advertising or operating the Franchised Business in a
                              dishonest, illegal or unethical manner, or having its business license for the Franchised
                              Business suspended or revoked;

                     (k)      Franchisee failing to rectify diligently any order issued by a governmental authority
                              concerning breach of any health, safety or other regulation or legal requirement applicable
                              to the Franchised Business within the time frame required by the government authority;

                     (1)      a personal or entity Franchisee or any director, officer, or member of an entity Franchisee
                              being convicted of an offence which in the reasonable opinion of Franchisor could bring
                              the Program, any of the Intellectual Property, or any other part of the goodwill established
                              thereby into disrepute;

                     (m)      Franchisee receives three (3) or more notices of default under this Section 16.1 or Section
                              16.2 in any 12 month period, whether or not such defaults are cured after notice; and

                     (n)      Any other reason permitted by law.

             Any of the defaults which do not have an opportunity to cure specified, shall be deemed incurable.

             16.2    Cross Default. If Franchisee, a member of its management, or any business entity in which one or
             more of Franchisee, and a member of its management personnel has a controlling interest, is a franchisee
             pursuant to another franchise agreement with Franchisor respecting another Franchised Business, a default
             under such other franchise agreement shall constitute a default under this Agreement, and should such other
             franchise agreement for any reason be terminated, Franchisor may, at is option, terminate this Agreement.


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            For purposes of this Section 16.2, the term franchise includes master franchises and multi-unit franchise
            agreements.

            16.3    Termination for Material Default. If Franchisee commits any Material Default under this
            Agreement, Franchisor may terminate this Agreement immediately upon giving written notice to
            Franchisee. In the event of any such default, Franchisor may exercise any and all rights and remedies
            available to Franchisor under law, including all rights and remedies provided to Franchisor under this
            Agreement, the Guarantee and the Security Agreement.

            16.4    Appointment of Receiver or Receiver-Manager. Without limiting the foregoing, upon a Material
            Default by Franchisee, Franchisor may in writing appoint a receiver or receiver-manager (in either case,
            the "Receiver") of the assets of Franchisee and may remove any Receiver so appointed and appoint a
            replacement from time to time. A Receiver shall be deemed the agent of Franchisee and Franchisor shall
            not be responsible for any misconduct or negligence on the part of the Receiver. The Receiver shall have
            power to:

                     (a)     enter upon and take possession of the all equipment, inventory and all other assets used in
                             or offered for sale by the Franchised Business (collectively the "Assets") with power to
                             exclude Franchisee, its employees, agents and other representatives therefrom, without
                             becoming liable as a creditor in possession;

                     (b)      preserve, protect and maintain the Assets and make such replacements thereof and repairs
                              and additions thereto as Franchisor may deem advisable;

                              sell, lease, assign or otherwise dispose of or concur in selling, leasing, assigning or
                              otherwise disposing of all or any part of the Assets, whether by public or private sale or
                              lease or otherwise, in such manner, at such price as can be reasonably obtained therefor
                              and on such terms as to credit and with such conditions of sale and stipulations as to title
                              or conveyance or evidence of title or otherwise as to Franchisor may seem reasonable,
                              provided that Franchisee will not be entitled to be credited with the proceeds of any such
                              sale, lease or other disposition until the monies therefor are actually received; and

                     ( c)     exercise all other rights and remedies provided to Franchisor by this Agreement to the
                              extent permitted by law or to such lesser extent permitted by its appointment, the Receiver
                              shall have all the powers of Franchisor hereunder, and in addition shall have power to carry
                              on the Franchised Business of Franchisee and for such purpose from time to time to borrow
                              money either secured or unsecured. Subject to applicable law and the claims, if any, of the
                              creditors of Franchisee ranking in priority to the security constituted by this Agreement, all
                              amounts realized from the disposition of the Assets pursuant to this Agreement will be
                              applied as Franchisor, in its sole discretion, may direct as follows:

                     (i)      in or toward payment of all costs, charges and expenses (including legal fees and
                              disbursements on a solicitor and his own client basis) incurred by Franchisor in
                              connection with or incidental to:

                              (I)     the exercise by Franchisor of all or any of the powers granted to it pursuant to
                                      this Agreement; and

                              (2)     the appointment of the Receiver and the exercise by the Receiver of all or any of
                                      the powers granted to the Receiver pursuant to this Agreement, including the
                                      Receiver's reasonable remuneration and all out goings properly payable by the
                                      Receiver.



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                     (ii)    in or toward payment to Franchisor of all interest referred to in this Agreement   and
                             unpaid;

                     (iii)   in or toward payment to Franchisor of all principal and other monies (except
                             interest) due as provided or referred to in this Agreement; and

                     (iv)    any surplus will be paid to Franchisee.

                    If the amounts realized from the disposition of the Assets are not sufficient to pay Franchisee's
            obligations in full to Franchisor, then Franchisee will immediately pay to Franchisor the amount of such
            deficiency.

                    16.5    Other Remedies for Material Default. In the event of a Material Default of this
            Agreement, and in addition to the other remedies provided in this Agreement or under applicable law,
            Franchisor may:

                     (a)     bring such action for injunctive or other similar relief as may be necessary to compel
                             Franchisee to comply with Franchisee's obligations contained or referred to in this
                             Agreement;

                     (b)     without waiving any claim for default hereunder and without prior notice to Franchisee,
                             take whatever steps Franchisor deems necessary to cure any default by Franchisee
                             hereunder for the account of and on behalf of Franchisee, and Franchisee hereby
                             irrevocably appoints Franchisor as its attorney to do so, and the related expenses incurred
                             by Franchisor shall be due and payable forthwith by Franchisee upon demand and shall be
                             deemed to be an amount owing to Franchisor hereunder; and/or

                     (c)     without waiving any claim for default hereunder and without prior notice to Franchisee,
                             enter upon any premises upon which the Franchised Business is conducted without being
                             liable to Franchisee in any way for such entry, for the purposes of securing the return of
                             any of Franchisor's property, performing or compelling performance of Franchisee's
                             obligations to Franchisor and protecting Franchisor's rights upon expiration or termination
                             of this Agreement;

                     l 6.6     Damages based on Material Default. In the event of a termination of this Agreement by
             Franchisor based on a Material Default, Franchisor shall have the right to claim and recover damages from
             Franchisee and such damages shall include, without limitation, loss of the benefit of Franchisor's bargain
             hereunder. It is acknowledged by Franchisee that the benefit of Franchisor's bargain hereunder shall include
             the Royalties which Franchisor would have expected to receive for the unexpired balance of the Term (or
             Renewal Term, if it is then in force) to a maximum of $50,000.

                     16.7    Telephone Numbers, Websites, and Domain Names. Upon expiration or earlier
             termination of this Agreement, with respect rights to the telephone or facsimile numbers, websites, and
             domain names which are utilized in connection with the Franchised Business, Franchisee hereby
             irrevocably authorizes Franchisor to do whatever is necessary (including executing documents in the name
             of Franchisee) to transfer all rights to such items to Franchisor or an assignee of Franchisor. Further,
             Franchisor will itself execute similar documents if any vendor of these services so requests. Franchisee
             shall not use any personal/residential telephone numbers in the operation of the Franchised Business. If
             Franchisee does so, those numbers will be subject to the provisions of this Section 16.7.

                     16.8   Remedies Cumulative. The rights and remedies ofFranchisor contained in this Section 16
             and elsewhere in this Agreement or in a document referred to in this Agreement are cumulative and no



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             exercise or enforcement of any right or remedy by Franchisor shall preclude its exercise or enforcement of
             any other right or remedy to which Franchisor is entitled by law, in equity or otherwise.

             17.     SECURITY INTEREST

                     Grant of Security Interest. Franchisee hereby grants to Franchisor a security interest in all of
                     Franchisee's interest in all leasehold improvements, furniture, furnishings, fixtures, equipment,
                     inventory and supplies located at or used in connection with the Franchised Business, now or
                     hereafter leased or acquired, together with all attachments, accessions, accessories, additions,
                     substitutions and replacements therefore, and all cash and non-cash proceeds derived from
                     insurance or the disposition of such collateral, to secure payment and performance of all debts,
                     liabilities and obligations of any kind, whenever and however incurred, of Franchisee to Franchisor.
                     Franchisee agrees to execute and deliver to Franchisor in a timely manner all financial statements
                     and other documents necessary or desirable to evidence, perfect and continue the priority of such
                     security interests under the Uniform Commercial Code. For such purposes, the address of
                     Franchisee and Franchisor are as stated in this Agreement. If Franchisee is in good standing,
                     Franchisor agrees, upon request, to execute subordinations of its security interest to suppliers,
                     lenders and/or lessors furnishing equipment or financing for the Franchised Business.

             18.     FRANCHISEE'S OBLIGATIONS UPON EXPIRATION OR TERMINATION

                      18.1    Payment of Accounts. Within 15 days after expiration or termination of this Agreement
             (or on such later date as such debts are due), Franchisee will pay, by bank draft, all outstanding Royalties,
             Franchise Promotional fees, and all other amounts payable by Franchisee (whether to Franchisee or its
             Affiliate) together with accrued interest charges thereon in accordance with Section 23.2.

                     18.2     Discontinuance. Upon expiration or termination of this Agreement, Franchisee shall
             immediately discontinue use of the Intellectual Property (including the Marks), the Operations Manual, the
             Confidential and Proprietary Material and all other materials provided by Franchisor such as advertising
             materials and training materials, trade secrets, systems, methods of operation, software, passwords, and the
             format and goodwill of the Program. Franchisee shall also forthwith change the color scheme of the
             Franchised Location to one that differentiates it from the color scheme of the Program and shall remove all
             signage related to the Program from the Franchised Business. Franchisee shall not thereafter operate or do
             business under any name or in any manner that might tend to give the general public the impression that
             Franchisee is directly or indirectly associated, affiliated, licensed by or related to Franchisor or the Program,
             and Franchisee shall not, directly or indirectly, use any Intellectual Property (including the Marks) or any
             other name, logo, signage, symbol, insignia, slogan, advertising, copyright, copyrighted materials, design,
             trade secret, process, system, method of operation or format confusingly similar to those used by the
             Program. Franchisee acknowledges the proprietary rights of Franchisor as set out in this Agreement and
             agrees to return to Franchisor the Operations Manual, all advertising and training materials and all other
             confidential information relating to the Program, as well as all other property of Franchisor, forthwith upon
             expiration or earlier termination of this Agreement. Additionally, Franchisee shall, upon termination or
             expiration of this Agreement, promptly remove any signage from the Franchised Business and any other
             premises from which the Franchised Business is conducted which uses the Intellectual Property (including
             the Marks) or otherwise and refers, directly or implicitly, to the Program.

                     18.3    Power of Attorney. Following expiration or earlier termination of this Agreement,
             Franchisor may execute in Franchisee's name and on Franchisee's behalf all documents necessary or
             advisable in Franchisor's judgment to terminate Franchisee's use of the Marks and Franchisor is hereby
             irrevocably appointed as Franchisee's attorney to do so, and such appointment, to the extent permitted by
             applicable law, shall survive the incapacity or death ofan individual Franchisee.




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             19.     RENEWAL

                     If Franchisee is in full compliance with this Agreement, has not at any time committed any Material
            Default that has not been remedied and meets Franchisor's then current standard requirements for
            franchisees, and the Franchisee has not been habitually in breach of this Agreement, then Franchisor will
            enter into renewals under the then current franchise agreement( s). Renewals are granted upon the following
            terms and conditions:

                     (a)      Franchisee must give written notice of the right of renewal to Franchisor not more than 9
                              calendar months nor less than 6 calendar months prior to expiration of the Term ( or first
                              renewed term);

                     (b)     Franchisee shall execute Franchisor's then current form of franchise agreement which shall
                             include Franchisor's then current rates and then current definitions and shall, within 30 days
                             prior to expiration of the Term, pay to Franchisor a non-refundable renewal fee of $2,500
                             to reimburse the Franchisor's costs associated with the renewal of this Agreement and in
                             lieu of paying the then-standard franchise fee. This fee is charged at each of the renewals;

                     (c)      Franchisee shall execute and, if Franchisee is an entity, shall cause its owners to execute a
                              general release, in a form provided by Franchisor, of any and all claims against Franchisor
                              and its Affiliates and their respective officers, directors, members, shareholders,
                              employees, agents and other representatives with respect to the Term; and

                     (d)      at the time of execution of a renewal franchise agreement, Franchisee shall not have an
                              uncured notice of a default under this Agreement or any other agreement or obligation
                              Franchisee may have with Franchisor including, but not limited to, all obligations to pay
                              Royalties and other amounts; responsibilities to comply with the Operations Manual,
                              including trade name and logo guidelines, and so forth.

             20.     ASSIGNMENT OR TRANSFER

                     20. I   Assignment or Transfer by Franchisee. Franchisee acknowledges that the rights and
             duties created by this Agreement are personal to Franchisee and that Franchisor has entered into this
             Agreement in reliance upon the individual or collective character, skill, aptitude, attitude, business ability
             and financial capacity of Franchisee (or its principals, in the case of a corporate Franchisee). Therefore,
             except as expressly provided herein, neither this Agreement nor any of the rights and privileges of
             Franchisee contained herein, nor the Franchised Business or any part of it, nor any share or interest in
             Franchisee (if an entity) may be voluntarily, involuntarily, directly or indirectly (including by operation of
             law) assigned, sold, pledged, hypothecated, subdivided, sublicensed, optioned, diluted (such as by stock
             issuance or sale) or otherwise transferred or encumbered, at law or at equity. Any assignment or transfer
             not expressly permitted by this Agreement shall constitute a breach of this Agreement and shall be of no
             force and effect, and shall not be effective to convey any interest in this Agreement or the Franchised
             Business.

                       Without limiting the foregoing, Franchisee shall not assign or transfer, in whole or in part,
             Franchisee's interest in this Agreement or the Franchised Business except upon the terms and conditions
             provided in this Section 20. Any such assignment or transfer shall require the prior written consent of
             Franchisor, which Franchisor will not withhold unreasonably. Franchisor may refuse to consent to an
             assignment or transfer if any Material Default has occurred and has not been remedied. By way of
             illustration and not limitation, Franchisor may withhold its consent if the proposed assignee or transferee
             does not meet Franchisor's then current requirements for its new franchisees, is and will remain involved
             in any way in another business similar to the Franchised Business, is not in Franchisor's opinion financially
             and operationally capable of performing the then current obligations of System franchisees, or has had

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             previous business experience or lack of experience which. in the judgment of Franchisor, suggest that the
             proposed assignee or transferee may not be a suitable franchisee of the Program. Franchisor's consent to
             any assignment or transfer shall not constitute a waiver of any claim, demand, action or cause of action
             which it may have against Franchisee, and shall not constitute a release of any third party guarantee or
             covenant for performance of this Agreement by Franchisee.

                     2.0.2 Transfer ofInterest in Corporate Franchisee. Without limiting the foregoing section, in
             the event that Franchisee is a corporation, partnership or other form of business organization, any material
             change in the legal or beneficial ownership of Franchisee, whether by agreement, court order, or by
             operation of law will be deemed to be an assignment or transfer of this Agreement by Franchisee. For the
             purposes of this paragraph, a material change in ownership will be any cumulative change in the legal or
             beneficial ownership of voting shares (or comparable voting units) representing more than 20 percent of all
             outstanding voting shares (or comparable voting units).

                      20.3   Conditions of Consent. Any consent given to Franchisee to assign, transfer, sell or
             otherwise alienate Franchisee's interest in this Agreement and the Franchised Business shall be subject to
             the following conditions (none of which limit in any way the discretion of Franchisor to grant or reasonably
             withhold its consent to any proposed assignment or transfer):

                     (a)      Franchisee shall submit all proposed advertisements for the sale of the Franchised Business
                              to Franchisor for prior written approval, and Franchisor shall approve the material terms
                              and conditions of any proposed transfer or assignment;

                     (b)      Franchisee shall pay a non-refundable transfer fee of $5,000, of which $2,500 shall be
                              payable upon the Franchisee's declaration of an intent to sell the Franchised Business, to
                              reimburse Franchisor for its costs and expenses associated with reviewing and processing
                              the application and providing training to the assignee;

                     (c)      Franchisee and assignee or transferee shall execute Franchisor's then current form of
                              assignment of franchise agreement or, at the election of Franchisor, the assignee or
                              transferee shall execute Franchisor's then current form of franchise agreement for a term
                              equal to the remainder of the Term;

                     (d)      Franchisee shall return to Franchisor the Operations Manual and all other manuals and
                              materials provided hereunder, for re-issuance to the assignee or transferee;

                     (e)      Franchisee and its principals shall each execute a release in the form provided by
                              Franchisor and described in Section 20.5. Notwithstanding an assignment or transfer,
                              Franchisee shall not be released by Franchisor;

                     (f)      The assignee or transferee and its designated management personnel shall have completed
                              to Franchisor's satisfaction Franchisor's then-current training program;

                     (g)      all obligations of Franchisee under this Agreement and under all documents relating hereto
                              and any or all other agreements then in effect between Franchisor or its nominee and
                              Franchisee shall be in good standing; and

                     (h)      the assignee shall execute Franchisor's then current form of guarantee.

                     20.4   Transfer to an Entity by Personal Franchisee. If Franchisee is an individual, then his or
             her assignment of this Agreement to an entity formed solely for the purpose of owning and operating the
             Franchised Business pursuant to this Agreement, including but not limited to a corporation, limited liability
             company, limited liability partnership, limited partnership or any other form of entity, shall not be deemed


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            to be an assignment of this Agreement, on condition that at least 15 days prior to an assignment being
            effected, Franchisee provides full written details of the proposed assignment to Franchisor and both
            Franchisee and proposed assignee certify in such writing that:

                     (a)     Franchisee has, and will retain at all time during the Term and any exercised Renewal Term
                             legal and beneficial ownership of not less than 75% of the outstanding voting equity of the
                             assignee entity;

                     (b)     Franchisee is and will remain the principal officer, chairman, director, member, partner,
                             manager of the assignee entity;

                     (c)     all equity holders (both legal and equitable), members, partners, managers, directors and
                             officers of the assignee entity will forthwith sign Franchisor's then current form of
                             guarantee whereby they will, among other things, jointly and severally guarantee
                             performance of this Agreement by the entity;

                     (d)     notwithstanding the assignment, the assignor shall remain liable, jointly and severally with
                             the assignee entity and guarantors, for all obligations of Franchisee contained herein, and
                             concurrently with the assignment, the assignor will execute and become bound by the
                             Franchisor's then-current form of guarantee;

                     (e)     the assignor assigns to the assignee all or any portion of the Agreements entered into
                             between the Franchisor and assignor including without limitation, all franchise agreements;

                     (f)     the assignor assigns to the assignee all Assets, leases, intangibles (including without
                             limitation, insurance contracts), and all other assets held by the assignor that are necessary
                             for or used in the Franchised Business; and

                     (g)     the assignee has no material liabilities that would affect the ability of the assignee to carry
                             on the Franchised Business.

            Additionally, the provisions of subsections 20.3(b) to (f) above shall apply, with the necessary changes, to
            the proposed assignment.

                    20.5     Franchisee's Release of Claims. It shall be a condition of Franchisor's consent to any
            assignment that Franchisee and its principals each deliver to Franchisor a complete release of all claims
            against Franchisor and its Affiliates and their respective directors, officers, shareholders, members,
            managers, partners, employees, agents and other representatives in respect of all obligations arising under
            or pursuant to this Agreement, such release shall be in a form provided by Franchisor.

                     20.6     Death, Incapacity or Permanent Disability. In the event of the death or permanent
            disability of a personal Franchisee ( or a principal of Franchisee where Franchisee is an entity or other entity
            and its principal is the manager of the Franchised Business), then Franchisee or estate ofa deceased personal
            Franchisee shall have the right, within six (6) months after such event, to assign this Agreement to an
            assignee who is, in Franchisor's opinion, financially and operationally capable of performing the obligations
            of Franchisee hereunder, provided that each of the conditions set out in Section 20.3 are fulfilled to the
            reasonable satisfaction of Franchisor. For the purposes of this Section 20.6, permanent disability means the
            inability of the personal Franchisee or principal to manage effectively the day-to-day operation of the
            Franchised Business for a period of 30 days. During any period of disability (permanent or otherwise) or
            pending assignment or in the event of death as aforesaid, in the event the Franchisee does not or is unable
            to replace the General Manager as required by Section 11.1, Franchisor may appoint a competent and
            trained manager to operate the Franchised Business for the account of Franchisee. The substitute manager
            shall be deemed for all purposes to be the agent or employee of Franchisee. Franchisor shall not be liable


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            to Franchisee or to any creditor of the Franchised Business for any debt, obligation, contract, loss or damage
            incurred, or for any purchase made during any period in which the Franchised Business is so managed.

                     20.7      Right of First Refusal. If Franchisee or its shareholders shall at any time determine to sell,
            assign or transfer this Agreement or an interest in the Franchised Business or any equity interest in
            Franchisee (if an entity), then Franchisee shall provide Franchisor with a copy of the written offer from a
            fully disclosed purchaser. Franchisor shall have the right, exercisable by written notice delivered to
            Franchisee within 15 days from the date of delivery of a bona fide offer, to purchase such interest for the
            price and on the terms and conditions contained in such offer, provided that Franchisor may substitute cash
            for any form of payment proposed in such offer and shall have not less than 60 days to prepare for closing.
            Franchisor may, at closing, pay any of Franchisee's trade creditors out of the purchase price, and set off
            against the purchase price any unpaid debts of Franchisee to Franchisor. If Franchisor does not exercise its
            right of first refusal, Franchisee (or other vendor) may complete the sale to such purchaser pursuant to and
            on the terms of such offer, subject to compliance with the consent and approval requirements of this
            Section 20; provided, however, that if the sale to such purchaser does not complete within 90 days after
            delivery of such offer to Franchisor, or ifthere is a material change in the terms of the sale, then Franchisor
            shall again have a new right of first refusal as herein provided.

                    20.8     Assignment by Franchisor. This Agreement may be assigned in whole or in part by
            Franchisor and, if Franchisor makes a full assignment to a third party and the third party agrees in writing
            to assume all of the obligations and liabilities of Franchisor hereunder, then Franchisor shall automatically
            be released from all obligations and liabilities hereunder. A partial assignment by Franchisor may include
            an assignment of the Royalties payable by Franchisee.

                     20.9      Legend on Share Certificates. If Franchisee is an entity, Franchisee shall cause all shares
             ofits capital stock, unit certificates or similar agreements or indications of ownership; the following legend,
             with necessary changes:

                     The Company and the securities evidenced by this certificate are subject to, and the
                     disposition and transfer of such securities are restricted by, a franchise agreement dated as
                     of _ _ _ _, between the Company and TFL Franchise Systems LLC, a Massachusetts
                     limited liability company, a copy of which may, at the request of any shareholder of the
                     corporation, be examined at the principal business office of the Company during normal
                     business hours.

             21      NON-COMPETITION

                      21.1 In Term Competition Restriction. Except as expressly permitted by this Agreement or by
             any other written agreement between Franchisor and Franchisee, during the Term or an exercised Renewal
             Term, Franchisee, or any of Franchisee' s officers, directors, or managers, shall not directly or indirectly
             engage in the provision of locksmith or security goods or services, including doors, video cameras, and
             access control, in the United States. During the same time period, Franchisee also agrees not to take any
             steps to interfere with Franchisor's relations with National Accounts. And Franchisee agrees not to sell or
             transfer subscription based contracts made available to Franchisee by Franchisor to competitors in the
             United States.

                      21.2 Post-Term Competition Restriction. Except as expressly permitted by this Agreement or by
             any other written agreement between Franchisor and Franchisee, for a period of 18 months after expiration
             of the Term or an exercised Renewal Term, Franchisee, or any of Franchisee's officers, directors, or
             managers, shall not directly or indirectly, engage in the provision oflocksmith or security goods or services,
             including doors, video cameras, and access control, at or within 20 miles of Franchisee' s location or within
             20 miles of any other franchisee of Franchisor. This Section 21 shall also continue to apply to Franchisee
             in the case of any assignment of this Agreement or any sale of the Franchised Business. During the same

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            time period, Franchisee also agrees not to take any steps to interfere with Franchisor's relations with
            National Accounts.

                    21.3 Application. This Section 21 shall survive the expiration or sooner termination of this
            Agreement and any assignment, transfer or sale hereunder. Franchisee acknowledges that by reason of the
            unique nature and considerable value of the Marks and the business reputation associated with Franchisor
            and the Program, including methods of operating, format and related proprietary rights and by reason of
            Franchisee's knowledge of and association and experience with the Program, the provisions of this
            Section 21 are reasonable and commensurate for the protection of the legitimate business interests of
            Franchisor, its Affiliates and franchisees.

            22.      FRANCHISEE ACKNOWLEDGMENTS

                     22.1    Acknowledgments. Franchisee acknowledges and agrees as follows:

                     (a)     Potential Earnings. The success of the Franchised Business to be established hereunder
                             will, to a great extent, be dependent upon the personal time and efforts contributed by
                             Franchisee and Franchisee's employees (as well as Franchisee's partners or directors if
                             Franchisee is a partnership or a corporation). Neither Franchisor nor anyone else has
                             represented, warranted or guaranteed to Franchisee that Franchisee will enjoy financial
                             success in owning and operating the Franchised Business.

                     (b)     No Representations or Projections. Except as may be disclosed in Item 19 of the disclosure
                             document, neither Franchisor nor anyone else has made any representation, warranty or
                             guarantee regarding the level of Gross Revenue, net income or profit margins which may
                             be achieved at the Franchised Business. The results achieved at the Franchised Business
                             will be particular to the Franchisee. Franchisee accepts the risk of the Franchised Business
                             not achieving the levels of Gross Revenue and net income during the Term which
                             Franchisee at the Effective Date hopes to achieve.

                     (c)     Review of Documents and Time for Careful Consideration. Franchisee acknowledges that
                             he, she or it has received, has had ample time to read and study, and has read and studied
                             this Agreement and fully understands its provisions. Franchisee further acknowledges that
                             he, she or it has had an adequate opportunity to be advised by legal counsel and accounting
                             professionals of his, her or its own choosing regarding all aspects of this Agreement and
                             the relationship created thereby.

                     (d)     Injunctive Relief. Franchisee acknowledges that certain breaches of this Agreement would
                             result in loss to Franchisor for which Franchisor could not be adequately compensated in
                             damages by a monetary award. Accordingly, Franchisee agrees that in the event of any
                             such breach of this Agreement, Franchisor shall, in addition to all the remedies available
                             to Franchisor at law or in equity, be entitled as a matter of right to a restraining order,
                             injunction (including an interim injunction), decree of specific performance or otherwise,
                             without the need to post any bond or other security in connection therewith, to ensure
                             compliance by Franchisee with the provisions of this Agreement and preservation, of
                             Franchisor's proprietary rights. Franchisee waives the requirement that Franchisor post
                             bond on any temporary restraining order, preliminary, or permanent injunction.

                     (e)      Responsibility for Investigations, Permits, Etc. Franchisee acknowledges that it is solely
                              responsible for investigation of all regulations applicable to the Franchised Business and
                              for obtaining all necessary permits to operate the Franchised Business, and Franchisor
                              makes no representation as to such regulations, if any, or that such licenses or permits are
                              available, nor has Franchisor undertaken any such investigation on its own.

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            23.      MISCELLANEOUS

                      23.1     Indemnity by Franchisee. Except as otherwise provided in this Agreement, Franchisee
            agrees to indemnify and save harmless Franchisor, its subsidiaries, Affiliates, shareholders, directors,
            officers, employees, agents, assignees and other franchisees from and against, and to reimburse them for,
            all liabilities, obligations, and consequential damages, taxes, costs, losses and actual legal expenses incurred
            by them in connection with any claim, litigation or other action or proceeding arising out of the operation
            of the Franchised Business by Franchisee. Franchisee shall be responsible for and shall pay and satisfy any
            judgment or settlement that may arise out of any such claim, litigation, action or proceeding. Without
            limiting the generality of the foregoing, Franchisee agrees that if Franchisor is made a party to any lawsuit
            or any other action or proceeding in connection with the Franchised Business or the activities of Franchisee
            or any ofits Affiliates, Franchisor may, at its sole option, either (a) permit Franchisee to conduct the defense
            or prosecution of the matter at the cost of Franchisee; or (b) take conduct of the defense or prosecution, in
            which case all expenses thereof will be borne or reimbursed by Franchisee. This indemnity shall continue
            in full force after termination or expiration of this Agreement.

                     23.2     Interest on Overdue Amounts. All payments required to be made by Franchisee to
             Franchisor under or pursuant to this Agreement shall bear simple interest from and after their respective
             due dates until paid in full at the rate often percent (10%) per annum or such other rate as Franchisor may
             specify in writing from time to time or the maximum rate permitted by law if lower.

                     23.3    Application of Payments. Franchisor shall have sole discretion to apply any payments
             made by Franchisee to any past due indebtedness of Franchisee, including but not necessarily limited to
             Royalties, Franchise Promotional Fund, purchases from Franchisor, or any of its Affiliates, interest or other
             indebtedness.

                      23.4     Parties are Independent Contractors. The parties intend by this Agreement to establish
             the relationship of franchisor and franchisee, each as an independent contractor, and it is not the intention
             of either party to establish a fiduciary relationship, to undertake a joint venture, to make Franchisee in any
             sense an agent, employee, Affiliate, associate or partner of Franchisor or to confer on Franchisee any
             authority to act in the name of or on behalf of Franchisor.

                      23.5    Conformity with Laws. If any court order, statute, law, by-law, ordinance or regulation
             promulgated by any competent authority requires a longer or different notice period than that specified
             herein, the notice period shall automatically be deemed to be amended so as to conform with the minimum
             requirements of such statute, law, by-law, ordinance, regulation or court order.

                      23.6    Additional Franchises. Franchisee acknowledges that Franchisor may from time to time
             grant franchises for additional Franchised Businesses under terms that may differ materially from the terms
             of this Agreement and that consequently Franchisor's obligations and rights with respect to its various
             franchises may from time to time differ materially from those provided in this Agreement.

                     23.7     Waiver. Franchisor reserves the right, from time to time, to waive observance or
             performance of any obligation imposed on Franchisee by this Agreement. No waiver of any default of any
             term, proviso, covenant or condition of this Agreement by Franchisor shall constitute a waiver of any other
             term, proviso, covenant or condition of this Agreement.

                     23.8     Entire Agreement. This Agreement and all exhibits to this Agreement constitute the entire
             agreement between the parties and supersede any and all prior negotiations, understandings,
             representations, and agreements. Nothing in this or any related agreement, however, is intended to disclaim
             the representations we made in the franchise disclosure document that we furnished to you.




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             You acknowledge that you are entering into this Agreement as a result of your own independent
             investigation of our franchised business and not as a result of any representation about us made by our
             shareholders, officers, directors, employees, agents, representatives, independent contractors or franchisees
             that are contrary to the terms set forth in this Agreement, or in any disclosure document, prospectus, or
             other similar document required or permitted to be given to you pursuant to applicable law.

                     23.9    Amendments. This Agreement can be amended or added to only by a writing executed by
             both Franchisor and Franchisee.

                     23.10 Further Assurances. Franchisor and Franchisee will each acknowledge, execute and
             deliver all such further documents, instruments or assurances and will each perform such further acts or
             deeds as may be necessary or advisable from time to time to give full effect to this Agreement.

                     23.11 Severability. If any article, section or subsection of this Agreement or any portion thereof
             is determined to be indefinite, invalid, illegal or otherwise void, voidable or unenforceable, then it shall
             automatically be severed from this Agreement and the balance of this Agreement shall continue in full force
             and effect.

                     23 .12 Governing Law. This Agreement is effective upon its acceptance in Massachusetts by our
             authorized officer. Except as to claims governed by federal law, Massachusetts law governs all claims that
             in any way relate to or arise out of this Agreement or any of the dealings of the parties ("Claims"). However,
             no laws regulating the sale of franchises or governing the relationship between franchisor and franchisee
             shall apply unless the jurisdictional requirements of such laws are met independently of this paragraph.).

                     23.13 Jurisdiction and Venue. In any suit over any Claims, venue shall be proper only
             in the state and federal courts closest to our corporate office.

                      23.14 Jury Waiver. In any trial of any Claims, you and we agree to waive our rights to a
             jury trial and instead have such action tried by a judge.

                     23.15 Class Action Waiver. You agree that any Claims you may have against us,
             including our past and present employees and agents, shall be brought individually and you shall
             not join with claims of any other person or entity or bring, join or participate in a class action
             against us.

                    23.16 Punitive Damages Waiver. In any lawsuit, dispute or claim over any Claims, you
             and we agree to waive our rights, if any, to seek or recover punitive damages.

                     23.17 Limitation of Actions. You agree to bring any Claims against us, if at all, within
             one ( 1) year of the occurrence of the facts giving rise to such Claims.

                     23 .18 Prior Notice of Claims. As a condition precedent to commencing an action for a
             Claim, you must notify us within thirty (30) days after the occurrence of the violation or breach,
             and failure to timely give such notice shall preclude any claim for damages.

                      23.19 Internal Dispute Resolution. You must first bring any Claim to our CEO, after
             providing notice as set forth in Section 23 .18 above. You must exhaust this internal dispute
             resolution procedure before you may bring your Claim before a third party. This agreement to
             first attempt resolution of disputes internally shall survive termination or expiration of this
             Agreement.

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                     23.20 Mediation. Before you may bring any Claim against us in court, you agree to try
             for a period of 60 days to mediate such claim before a mutually agreed to mediator in the city or
             county where our headquarters are located. lfwe can not mutually agree on a mediator, you and
             we agree to use the mediation services of the American Arbitration Association ("AAA"), and split
             any AAA and mediator fees equally.

                     23.21 Attorney Fees. If we are the substantially prevailing party as to any Claims, you
             agree to reimburse our costs and attorney fees incurred in pursuing or defending the Claims.

                    23.22 Third Party Beneficiaries. Our officers, directors, members, shareholders, agents,
             and employees are express third party beneficiaries of the terms of these Governing Law
             provisions contained herein.

                     23.23 Survival. All of the covenants contained in this Agreement that may require
             performance after the termination or expirations of this Agreement will survive any termination or
             expiration of this Agreement.

                     23.24 Severability Clause. If any covenant or provision in this Agreement is determined
             to be void or unenforceable, in whole or in part, it shall be deemed severed and removed from this
             Agreement and shall not affect or impair the validity of any other covenant or provision of this
             Agreement.

                     23.25 Area Representatives. If you are or become in a territory under an Area
             Representative, you agree not to bring any Claims against the Area Representative. If you breach
             this clause, you agree to reimburse us or the Area Representative for any legal fees and costs
             incurred in defending such Claims.

                     23.23 Submission of Agreement. The submission of this Agreement to Franchisee does not
             constitute an offer by Franchisor. This Agreement shall only become effective when it has been executed
             by both Franchisor and Franchisee.


                     IN WITNESS WHEREOF Franchisor and Franchisee have executed this Agreement as of the
             Effective Date shown in Attachment 1.




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             FRANCHISEE: Black 13               Enterprise, Inc.

            Name:
             By:
                      G~"'
                      l~
                          •-.,
                         Toby Gilman




            Name:

             By:




             FRANCHISOR:
             TFL FRANCHISE SYSTEMS, LLC.,
             a Massachusetts limited liability company

                   ("";;DocuSigned by.


             By:   L!~~!::.~~~
              (authorized signature)
                       BRETT MCMENIMON
             N ame: _ _ _ _ _ _ _ _ _ _ _ __




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                                                         ATTACHMENT 1

                                          FRANCHISED BUSINESS - PARTICULARS



             1.
                            .
                     Franc h1See: Black 13 Enterprise, Inc.
                                   ------------------


            2.              . Da te: _
                    Eftiect 1ve      12/12/2018
                                       _ _ _ _ _ _ __




            3.       Territory Description:
                     Territory DFW #1, see attached territory map. Population= 1,403,340.
                     Franchise Fee - $159,980.76 which includes a 5% veteran's discount




                                   .                .              01/22/2019
             4.      Scheduled Openmg Date of Franchised Business:
                                                                        -----------



             5.      Management Personnel of Franchisee: (list below)
                     Toby Gilman
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                                                        ATTACHMENT 2

                                                            MARKS



               Registration Number          Description of Mark        Principal or     Registration Date
                                                                      Supplemental
                                                                     Register of the
                                                                      United States
                                                                       Patent and
                                                                    Trademark Office

                     4751651                                           Principal          June 9, 2015




                     4811307                                           Principal       September 15, 2015




                      5132846             The Flying Locksmiths         Principal       January 31, 2017
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                                                                   ATTACHMENT 3

                              HOLDERS OF OWNERSHIP INTEREST IN THE FRANCHISEE

             Please list ALL persons who hold any ownership interest in the franchisee:

             *Please note per Your Franchise Agreement, you may transfer your interest in the franchisee
             or any entity holding the franchise only ifwe approve
                       Toby Gilman
            N ame: _ _ _ _ _ _ _ _ _ _ _ _ __                               Name: _ _ _ _ _ _ _ _ _ __
            Position/Title: owner/President                                 Position/Title:_ _ _ _ _ _ __
            Home Address:                                                   Home Address: _ _ _ _ _ _ __
            1910 PAvia court----------

             Telephone No.:_8_,,1,-7_-7_9...,3.--3_0_2,.,..s_"'T"I""°_ __   Telephone No.: _ _ _ _ _ _ __
             E-mail address: toby.g11 man@.gmai 1 . com                     E-mail address:- - - - - - - -
             Percentage of ownership: 100                             %     Percentage of ownership _ _ _ _%

             Name:                                                          Name:
                      --------------
             Position/Title:
                                                                                  -----------
                                                                            Position/Title:_ _ _ _ _ _ __
                         -----------
             Home Address:                                                  Home Address:- - - - - - - -
                                  ----------

             Telephone No.: _ _ _ _ _ _ _ _ _ __                            Telephone No.: _ _ _ _ _ _ __
             E-mail address:                                                E-mail address:- - - - - - - -
                                  -----------
             Percentage of ownership: _ _ _ _%                              Percentage of ownership _ _ _ _%

             Name:                                                          Name:
                      --------------
             Position/Title:
                                                                                  -----------
                                                                            Position/Title:- - - - - - - -
                         -----------
             Home Address:                                                  Home Address:- - - - - - - -
                                  ----------

             Telephone No.: _ _ _ _ _ _ _ _ __                              Telephone No.: _ _ _ _ _ _ __
             E-mail address: _ _ _ _ _ _ _ _ _ __                           E-mail address:- - - - - - - -
             Percentage of ownership: _ _ _ _%                              Percentage of ownership _ _ _ _%
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                                                        EXHIBITD

                                                PERSONAL GUARANTY


                     . p ersonal G uaranty, 1s
                  Th1s                      . mad e by _
                                                       Toby
                                                         __     _ _ _ _ _ _ _ _ _ _ ____;, ( ''G uarantor"), m
                                                              1man
                                                            Gi_                                                .
         favor of TFL Franchise Systems, LLC, a Massachusetts limited liability company (the "Franchisor") on the
         date set forth below.


                                                         RECITALS

               /ltilS  WHEREAS, Franchisor is entering into a Franchise Agreement dated
         12112
         _ _ _ _ _ _ _ _ _ _ ("Franchise Agreement") with Black 13 Enterprise, Ir\c!l!e
         Franchisee");

                 B. WHEREAS, Guarantor is a shareholder, director, officer, member, manager, or partner of
         Franchisee and will directly or indirectly benefit from the Franchisor entering into the Franchise Agreement
         with Franchisee; and

                C. WHEREAS, Franchisor is unwilling to enter into the Franchise Agreement without the
         Guarantor(s) providing this Personal Guaranty of Franchisee's obligations under the Franchise Agreement;

                NOW, THEREFORE, to induce Franchisor to enter into the Franchise Agreement, and for other
         good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
         Guarantor hereby agrees as follows:

                                                       AGREEMENT

                  1.     The Guaranty. Guarantor hereby irrevocably, absolutely and unconditionally guaranties
         the full, complete and punctual performance by Franchisee of all of the terms and conditions of the
         Franchise Agreement, including any amendments thereto or renewals thereof (collectively, the "Guaranteed
         Obligations"). The obligations and liability of the Guarantor hereunder shall be as a primary obligor under
         the Franchise Agreement, and not merely as a surety, and the Franchisor shall not be obliged to resort to or
         exhaust any recourse which it may have against the Franchisee, any third party, or any security or collateral
         before being entitled to bring a claim against the Guarantor.

                 2.       Obligations Unconditional. The obligations of the Guarantor under this Guaranty are
         absolute and unconditional to the fullest extent permitted by applicable law, irrespective of any
         circumstance whatsoever ( other than full payment or performance) which might otherwise constitute a legal
         or equitable discharge or defense of a surety or guarantor. No dealings between the Franchisor and the
         Franchisee of any kind, whether with or without notice to the Guarantor, shall affect the liability of the
         Guarantor hereunder. Without limiting the foregoing, the Guarantor hereby authorizes Franchisor, without
         notice or demand and without affecting Guarantor's liability hereunder, from time to time to (a) change or
         extend the time or manner of payment of the Franchise Agreement obligations; (b) or take and hold
         additional security for the payment of the Franchise Agreement, and exchange, enforce, waive and release
         any such security.

                  Additionally, Guarantor hereby waives:
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                             (a)      Any right to require Franchisor to (i) proceed against Franchisee or any other
             guarantor of the obligations; (ii) proceed against or exhaust any security received from Franchisee or any
             other guarantor of the obligations; and/or (iii) pursue any other remedy in Franchisor's power whatsoever;

                           (b)      Presentment, demand, protest, notice of protest, notice of dishonor and notice of
             non-payment and notice of acceptance of this Guaranty;

                              (c)      Any right to the benefit of, or to direct the application of, any security held by
             Franchisor, and until all the Guaranteed Obligations have been paid and performed in full, any right to
             enforce any remedy which Franchisor now has or hereafter may have against Franchisee, and any right to
             participate in any security now or hereafter held by Franchisor; and

                               (d)     Any right to receive from the Franchisor any communication whatsoever with
             respect to performance of the Guaranteed Obligations by the Franchisee (including any subsequently
             created obligation or liability of the Guarantor to the Franchisor); notice of the existence or creation of any
             liabilities under the Franchise Agreement and of the amount and terms thereof; and notice of all defaults,
             disputes or controversies between the Franchisee and the Franchisor resulting from the Franchise
             Agreement or otherwise, and the settlement, compromise or adjustment thereof.

                      3.     Continuing Guaranty. This Personal Guaranty constitutes a continuing guaranty of
             performance of the Guaranteed Obligations and the obligations of the Guarantor hereunder are not limited
             to any particular period of time but shall continue until all of the terms, covenants and conditions of the
             Franchise Agreement have been fully and completely performed by the Franchisee or otherwise discharged
             by the Franchisor, and the Guarantor shall not be released from any liability under this Personal Guaranty
             so long as there is any claim of the Franchisor against the Franchisee arising out of the Guaranteed
             Obligations that has not been fully performed, settled or discharged, nor shall this Personal Guaranty be
             affected by the death, disability, dissolution, or reorganization of the Franchisee or any of its directors,
             officers, members, partners, managers, or shareholders, or any change in the Guarantor's financial condition
             or in the business or financial condition of the Franchisee or any of its directors, officers or shareholders
             (including by way of insolvency, bankruptcy or receivership).

                     4.       Subrogation. The Guarantor hereby agrees that it shall not be subrogated to any of the
             rights of the Franchisor until payment in full of the Guaranteed Obligations.

                     5.     Binding Effect of Agreements. Any account settled or stated or any other settlement made
             between the Franchisor and the Franchisee, and any determination made pursuant to any of the Guaranteed
             Obligations which is expressed to be binding upon the Franchisee shall be binding upon the Guarantor.

                     6.      Personal Covenants. As additional personal covenants (and without limiting the
             applicability of the other provisions of this Personal Guaranty), the Guarantor as primary obligor
             unconditionally covenants and agrees to be bound personally and to comply with all provisions of the
             Franchise Agreement dealing with the use of trade names and trademarks, copyrights, Confidential and
             Proprietary Material, compliance with laws, non-solicitation of employees, and non-competition. If the
             Guarantor breaches any of these provisions, then the Franchise Agreement shall be deemed to be in default
             and the Franchisor may exercise its remedies for default under the Franchise Agreement.

                     7.     Amendment. The terms of this Personal Guaranty may be waived, altered or amended only
             by an instrument in writing duly executed by the Guarantor and the Franchisor.

                      8.       Severability. If any provision hereof is invalid and unenforceable in any jurisdiction, then
             to the fullest extent permitted by law (a) the other provisions hereof shall remain in full force and effect in
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            such jurisdiction and shall be liberally construed in favor of the Franchisor in order to carry out the
            intentions of the parties hereto as nearly as may be possible and (b) the invalidity or unenforceability of any
            provision hereof in any jurisdiction shall not affect the validity or enforceability of such provision in any
            other jurisdiction.

                     9.      No Waiver. No delay or refusal in exercising, any right, power or remedy hereunder shall
             operate as a waiver thereof.

                     10.     Expenses. The Guarantor will pay all reasonable expenses, including attorneys' fees, that
             are incurred by Franchisor in connection with the enforcement of this Agreement.

                      11.      Successors and Assigns. This Personal Guaranty shall be binding upon and inure to the
             benefit of the parties and their respective successors and assigns provided, however, that the Guarantor shall
             not assign or transfer his/her rights hereunder without the prior written consent of the Franchisor.

                     12.     Independent Advice. The Guarantor acknowledges that he/she has obtained, or has had the
             opportunity to obtain, independent legal advice before signing this Personal Guaranty.

                      13.     Governing Law, Jurisdiction and Venue. This Personal Guaranty shall be construed and
             interpreted according to the laws of the state of Massachusetts. The Federal and State Courts in or nearest
             the headquarters of TFL Franchise Systems, LLC shall have exclusive venue and jurisdiction to entertain
             any proceeding in respect of this Personal Agreement, and Guarantor consents to the jurisdiction and venue
             of such courts in all matters related to this Agreement.


                      IN WITNESS WHEREOF the Guarantor has signed this Personal Guaranty as of the date set
             forth below:

                     DA TED: 12/12/2018



                                                               Name: Toby Gil man

                                                                          1910 Pavia court, Arlington, TX 76006
                                                               Address:
                                                                          - -- - - - - - - - --

                                                               By: _ _ _ _ _ _ _ _ _ __

                                                               Name: _ _ _ _ _ _ _ _ _ _ __

                                                                Address: _ _ _ _ _ __ _ _ __
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                                                             EXHIBITE

                                       EMPLOYEE CONFIDENTIALITY AGREEMENT
                  This Employee Confidentiality Agreement (" Agreement") is entered into by and between
            - - - - - - - - - - - - - - - - - - - - - - - - - ("Employer")                  and
                                                                              ("Employee") and is effective as
            of _ _ _ _ _ _ _ ,201_.


                     WHEREAS, Employer is engaged in operation of a The Flying Locksmiths franchise (the
             "Franchised Business") pursuant to a Franchise Agreement between Employer and TFL Franchise Systems,
             LLC, (the "Franchisor");

                     WHEREAS, the Franchised Business is based on a comprehensive program (the "Program") that
             provides locksmith and security services and products for commercial, residential and automotive
             customers under the name of The Flying Locksmiths;

                     WHEREAS, the Program involves the use of Franchisor's Confidential Information (defined
             below) in connection with each Franchised Business;

                     WHEREAS, Employer desires to employ persons to work in the Franchised Business who will
             have access to Franchisor's Confidential Information;

                     WHEREAS, Employer has an obligation to safeguard Franchisor's Confidential Information;

                      WHEREAS, Employee is willing to become an employee of Employer in the Franchised Business
             subject to the terms and conditions set forth in this Agreement; and

                     WHEREAS, Employer is willing to hire Employee to work in the Franchised Business, but only
             upon the terms and conditions set forth in this Agreement;

                      NOW THEREFORE, in consideration of the mutual covenants contained in this Agreement and
             other good and faithful consideration, the receipt and sufficiency of which is hereby acknowledged, the
             parties agree as follows:

                     1. Franchisor's Confidential Information as Trade Secrets

                      Employee understands and acknowledges that during the course of employment by the Employer,
             Employee will have access to and learn about confidential, secret and proprietary documents, materials and
             other information, in tangible and intangible form, of and relating to the Franchised Business and its existing
             and prospective customers, suppliers, investors and other associated third parties ("Confidential
             Information"). The Employee further understands and acknowledges that this Confidential Information and
             the Employer's ability to reserve it for the exclusive knowledge and use of the Franchised Business is of
             great competitive importance and commercial value to the Employer, and that improper use or disclosure
             of the Confidential Information by the Employee might cause the Employer to incur financial costs, loss of
             business advantage, liability under confidentiality agreements with third parties, civil damages and criminal
             penalties.
                    For purposes of this Agreement, Confidential Information includes, but is not limited to, all
             information not generally known to the public, relating directly or indirectly to the equipment, operating
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            procedures, business techniques, manuals, customer lists, of the Franchise Business, or of any other person
            or entity that has entrusted information to the Employer in confidence.
                     The Employee understands that the above list is not exhaustive, and that Confidential Information
            also includes other information that is marked or otherwise identified as confidential or proprietary, or that
            would otherwise appear to a reasonable person to be confidential or proprietary in the context and
            circumstances in which the information is known or used.
                     Confidential Information shall not include information that is generally available to and known by
            the public at the time of disclosure to the Employee, provided that such disclosure is through no direct or
            indirect fault of the Employee or person(s) acting on the Employee's behalf.


                      2. Employer Owns Confidential Information

                    Employee understands and agrees that Confidential Information developed by Employee by virtue
            of Employees employment by the Employer belongs to Employer and shall be subject to the terms and
            conditions of this Agreement.

                      3. Nondisclosure

                     Employee shall not at any time or in any manner, either directly or indirectly, divulge, disclose or
            communicate to any unauthorized person(s) or entity any Confidential Information or use Confidential
            Information in an unauthorized manner. All Confidential Information shall be held by Employee in
            complete confidence. Such information is important, material, and confidential and gravely affects the
            effective and successful conduct of Employer's Franchised Business and injures Franchisor's goodwill.
            These provisions and restrictions apply while Employee is employed with Employer and at all times
            thereafter. Should Employee, at any time, cease to be an employee of Employer, Employee shall
            immediately return to the Employer the originals and all copies of all documents or other media containing
            or representing any of the Confidential Information. Breach of any of the terms of this paragraph shal I be
            a material breach of this Agreement.

                 4. Unfair Competition

                 Employee shall not, for any reason, directly or indirectly:
                 1.   During the term of employment, provide services of the type offered by Employer except on behalf
                      of and for the benefit of Employer.
                 2. During the term of employment and for 12 months following the termination of employment with
                    Employer, solicit any employee of Franchisor or Employer to terminate his or her employment
                    relationship with Franchisor or Employer to work for a competing business or otherwise induce or
                    attempt to induce employees to leave their employment;
                 3. Use any of the Franchisor's or Employer's proprietary trade secret information to solicit any of
                    Franchisor's or Employer's clients; or


                      5. Remedies

                     Employee agrees that, in the event of alleged breach, Employer shall be entitled, in addition to all
             other available remedies, to a temporary restraining order, a preliminary injunction and other relief and that
             Employee waives any right to Employer's posting of a bond on such order or injunction. Employee agrees
             that any action taken by Employer pursuant to this Agreement shall not constitute an election of remedies.
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                     6. Non-Disparagement

                      Employee agrees that Employee will not at any time make, publish or communicate to any person
             or entity or in any public forum any defamatory or disparaging remarks, comments or statements concerning
             the Employer, the Franchised Business, or Franchisor's products or services or make any false statements
             about the Employer, the Franchised Business, or Franchisor or their employees, members, or officers.

                     7. Enforcement by Franchisor

                      Both Employer and Employee acknowledge and agree that this Agreement is for the benefit not
             only of the Employer, but also of the Franchisor. Employer and Employee each agree that Franchisor shall
             have the same right to enforce this Agreement as Employer has; provided only that as between Employer
             and Franchisor, they shall be entitled to only one recovery of damages.

                     8. Miscellaneous Terms

                     8.1 Non-Waiver.
                     No act or omission or delay in enforcing a right by either party shall waive any right under or breach
             by the other of this Agreement unless such party executes and delivers a written waiver. The waiver by
             either party of any right under or breach of this Agreement shall not be a waiver of any subsequent or
             continuing right or breach.
                     8.2 Attorney Fees.
                     In the event that any legal action or proceeding is commenced by Employer or Franchisor to enforce
             this Agreement or to determine the rights of any party, including any appeal proceeding, if Employer or
             Franchisor is the substantially prevailing party, they shall be entitled to their costs and attorney fees incurred
             in pursuing the action.
                     8.3 Severability.
                     In the event that any of the provisions of this Agreement are held to be unenforceable or invalid by
             a court of competent jurisdiction, the validity and enforceability of the remaining provisions shall not be
             affected thereby, and full effect shall be given to the intent manifested by the provisions, or portions thereof,
             held to be enforceable and valid, unless such invalidity shall pertain to the obligation to pay fees, in which
             event this Agreement shall terminate.
                     8.4 Survival.
                     Employee acknowledges and agrees that the terms and conditions of this Agreement which may
             require performance after the termination of this Agreement shall survive after Employee's termination.
                      8.5 Warranty Of Authority.
                     Each person signing this Agreement for or on behalf of any party to this Agreement warrants that
             s/he has full authority to sign and to legally bind the party.
                      8.6 Choice Of Law.
                     This Agreement shall be governed by and construed under the laws of the state in which the
             Franchised Business is located.
                      8. 7 Modification.
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                        This Agreement shall not be modified or changed except by a written agreement executed by the
             parties.

             EMPLOYEE: - - - - - - - - - - - - -                      EMPLOYER:
                                                                                      ------------
             By: _ _ _ _ _ _ _ _ _ _ _ _ __                           By: _ _ _ _ _ _ _ _ _ _ _ __
                 Signature                                                Signature


                                                                              Title


             Distribution: Copy to Employee and Copy to Employee's Personnel File
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                                                             EXffiBITG

                                    GENERAL RELEASE AND WAIVER OF CLAIMS



                This GENERAL RELEASE AND W AIYER OF CLAIMS ("Release") is made this
            _ _day of _ _ _ _~ _ _, by ("Releasor"), with reference to the following facts:

                     A.       The undersigned, Releasor:

                     [COMPLETE AND CHECK APPROPRIATE BOX OR BOXES]

                    1.        D
                              is the Franchisee under, and signatory to, a Franchise Agreement entered into
             by and between TFL Franchise Systems, LLC ("Company") and Releasor (who is identified in the
             Franchise Agreement as Franchisee).

                     2.       D is an employee, officer, director, member, manager, partner or owner of an
             interest in the equity or voting interests of the Franchisee identified in the Franchise Agreement.

                    B.      This Release is being executed pursuant to the requirements of the Franchise
             Agreement as a condition of the rights granted by Company to Franchisee, and for other good and
             valuable consideration, the receipt of which is acknowledged by the parties.

                     NOW, THEREFORE, RELEASOR AGREES AS FOLLOWS:

                     1.       General Release

                     Releasor, for itself, himself or herself, and, if applicable, additionally, for Releasor's
             Affiliates, if any, and for each of their respective officers, directors, shareholders, members,
             managers, trustees, partners, employees, attorneys, heirs and successors (Releasor and such other
             persons are collectively referred to as the "Releasing Parties"), hereby release and forever
             discharge Company, Company's Affiliates, and their respective officers, directors, shareholders,
             members, agents, employees, representatives, attorneys, successors and assigns (collectively the
             "Released Parties"), and each of them, from any and all claims, demands, obligations, liabilities,
             actions, causes of action, suits, proceedings, controversies, disputes, agreements, promises,
             allegations, costs and expenses, at law or in equity, of every nature, character or description
             whatsoever, whether known or unknown, suspected or unsuspected or anticipated or unanticipated,
             which any of the Releasing Parties ever had, now has, or may, shall or can hereafter have or acquire
             (collectively referred to as "Claims"). This Release includes, but is not limited to, all Claims
             arising out of, concerning, pertaining to or connected with any agreement, tort, statutory violation,
             representation, nondisclosure, act, omission to act, fact, matter or thing whatsoever, occurring as
             of or prior to the date of this Release, so that after the date of this Release, none of the Releasing
             Parties shall have any claim of any kind or nature whatsoever against the Released Parties, directly
             or indirectly, or by reason of any matter, cause, action, transaction or thing whatsoever done, said
             or omitted to have been done or said at any time prior to the date of this Release. The terms,
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            "Company's Affiliates" and "Releasor' s Affiliates," respectively include every entity that controls,
            is controlled by, or is under common control with Company or Releasor.

                     2.       Waiver Of Civil Code Section 1542 [California Releasors]

                     This Release is intended by Releasor to be a full and unconditional general release, as that
             phrase is used and commonly interpreted, and to constitute a full, unconditional and final accord
             and satisfaction, extending to all claims of any nature, whether or not known, expected or
             anticipated to exist in favor ofReleasor or any of the other Releasing Parties against the Released
             Parties regardless of whether any unknown, unsuspected or unanticipated claim would materially
             affect settlement and compromise of any matter mentioned herein. Releasor, for itself, himself or
             herself, for each of the other Releasing Parties hereby expressly, voluntarily and knowingly
             waives, relinquishes and abandons each and every right, protection and benefit to which Releasor
             or any of the Releasing Parties would be entitled, now or at any time hereafter under Section 1542
             of the Civil Code of the State of California, as well as under any other statutes or common law
             principles of similar effect to said Section 1542, whether now or hereinafter existing under the
             laws of California or any other applicable federal and state law with jurisdiction over the parties'
             relationship. Releasor, for itself, himself or herself, for each of the other Releasing Parties,
             acknowledges that Section 1542 of the Civil Code of the State of California provides as follows:

                              "A general release does not extend to claims which the creditor does
                              not know or suspect to exist in his or her favor at the time of
                              executing the release, which if known by him or must have
                              materially affected his or her settlement with the debtor."

             In making this voluntary express waiver, Releasor acknowledges that claims or facts in addition
             to or different from those which are now known or believed to exist with respect to the matters
             mentioned herein may later be discovered and that it is Releasor's intention to hereby fully and
             forever settle and release any and all matters, regardless of the possibility oflater discovered claims
             or facts. This Release is and shall be and remain a full, complete and unconditional general release.
             Releasor acknowledges and agrees that the foregoing waiver of Section 1542 is an essential,
             integral and material term of this Release and that it, he or she is entering into this Release on the
             advice of independent counsel.

                    3.       Dispute Resolution. Releasor agrees to be bound by the dispute resolution
             provisions set forth in the Franchise Agreement, which are incorporated herein by this reference.

                    4.      Release Not Admission. Releasor understands and agrees that the giving or
             acceptance of this Release and the agreements contained herein shall not constitute or be construed
             as an admission of any liability by Company or an admission of the validity of any claims made
             by or against Company.

                    5.      Authority Of Parties. Each person executing this Release on behalf of a party hereto
             warrants and represents that he or she is duly authorized to execute this Release on behalf of such
             party.
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                   6.      No Prior Assignments. Releasor represents and warrants that Releasor has not
            previously assigned or transferred, or attempted to assign or transfer, to any third party any of the
            Claims which are the subject of this Release, all of such Claims being released.

                   7.       Definitions. All capitalized terms used in this Release that are not defined in the
            body of this Release shall have the same meaning assigned to them in the Franchise Agreement,
            and the parties hereby incorporate those definitions by reference.

                     IN WITNESS WHEREOF, Releasor has executed this Release on the date first shown
            above.



              Dated: - - - - - - -                           RELEASOR:




                                                             [IF APPLICABLE]


                                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __


                                                             Its:. _ _ _ _ _ _ _ _ _ _ _ _ _ __




              Dated: - -- - -- -                             TFL Franchise Systems, LLC


                                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __


                                                             Title:. _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                                                                   Exhibit A-2


                                                  EXHIBITH
                                    AUTO MATIC BANK DRAFT AUTHORIZATION

                                               ACH Origination Authorization

             Please complete the following with your banking information and attach a voided check:

             Company Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            Name of Financial Institution:
                                               ---------------------
             Address of Financial Institution:
                                                 --------------------
             Routing Number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Account Number:
                                 -------------------------

             I hereby authorize TFL Franchise Systems, LLC and the financial institution named above to
             initiate entries to my checking or savings accounts as identified above in accordance with the terms
             of my franchise agreement and, if necessary, to initiate adjustments for any transactions credited
             in error. This authority will remain in effect until I notify either TFL Franchise Systems, LLC or
             the above-named financial institution in writing to cancel it in such time as to afford a reasonable
             opportunity to act on such instructions. I can stop payment of any entry by notifying the above-
             named financial institution at least 3 days before my account is scheduled to be charged. I can
             have the amount of an erroneous charge immediately credited to my account for up to 15 days
             following issuance of my statement by the above-referenced financial institution or up to 60 days
             after deposit, whichever occurs first.


             Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Printed Name of Person Signing: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Title (if any): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Application Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Telephone Number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Applicant's Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                             EXHIBITF

                            FRANCHISEE DISCLOSURE ACKNOWLEDGMENT STATEMENT


                     As you know, TFL Franchise Systems, LLC, ("Franchisor") and you are preparing to enter into a
            Franchise Agreement for the establishment and operation of a The Flying Locksmiths franchise. The
            purpose of this questionnaire is to determine whether any statements or promises were made to you, either
            orally or in writing, by employees or representative of Franchisor that have not been authorized or that were
            not disclosed in the Disclosure Document or that might be untrue, inaccurate or misleading.

                    Please review each of the following questions carefully and provide honest and complete responses
            to each question.

             1.      Are you seeking to enter into the Franchise Agreement in connection with a purchase or transfer
                     of an existing The Flying Locksmiths franchise from an existing franchisee?
                      No


            2.       Have you received and personally reviewed the Franchise Agreement and each exhibit attached to
                     it?
                      Yes

             3.      Do you understand all of the information contained in the Franchise Agreement and each exhibit
                     attached to it?
                      Yes

                     If no, what parts of the Franchise Agreement or exhibit do you not understand? (Attach additional
                     pages, if necessary)




             4.      Have you received the Franchise Agreement you are to execute with all the blanks completed?
                      No


             5.      Have you received and personally reviewed the Franchise Disclosure Document, which was
                     provided to you?
                     Yes

             6.      Do you understand all of the information contained in the Disclosure Document and any state-
                     specific addendum that was attached to the Disclosure Document?
                      Yes
                     If no, which parts of the Disclosure Document and/or Addendum do you not understand? (Attach
                     additional pages, if necessary)
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                                                                                                              Exhibit A-2




             7.      Have you discussed the benefits and risks of operating a The Flying Locksmiths franchise with an

                     attorney, accountant or other professional advisor and do you understand those risks?
                      Yes

                     If not, do you wish to have more time to do so?
                       NO


             8.      Do you understand that the success or failure of your franchise will depend in large part upon
                     your skills and abilities, the hours worked by you, competition from other businesses, interest
                     rates, the economy, inflation, labor and supply costs, lease terms, your management ability, the
                     marketplace and other economic and business factors?
                      Yes

             9.      Has any employee, broker or other person speaking on behalf of Franchisor made any written or
                     oral statement or promise concerning the sales, revenues, or profits of a The Flying Locksmiths
                     franchise, other than what may be stated in Item 19 of the The Flying Locksmiths FDD?
                      No


             10.     Has any employee, broker or other person speaking on behalf of Franchisor made any written or
                     oral statement or promise regarding the costs you may incur in starting a The Flying Locksmiths
                     franchise that is contrary to, or different from, the information contained in the Disclosure
                     Document?
                      No


             11.     Has any employee, broker or other person speaking on behalf of Franchisor made any written or
                     oral statement or promise concerning the likelihood of success that you should or might expect to
                     achieve from operating a The Flying Locksmiths franchise?
                      NO


             12.     Has any employee, broker or other person speaking on behalf of Franchisor made any written or
                     oral statement, promise or agreement concerning the advertising, marketing, training, support
                     services or assistance that Franchisor will furnish to you that is contrary to, or different from, the
                     information contained in the Disclosure Document?
                      No


             13.     Has any employee, broker or other person speaking on behalf of Franchisor made any written or
                     oral statement, promise or agreement relating to any right you may have to acquire territory in
                     addition to what will be initially granted to you under the Franchise Agreement?
                      No
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                                                                                                                                            Exhibit A-2


             14.      Has any employee, broker or other person speaking on behalf of Franchisor made any other
                      written or oral statement, promise or agreement relating to the The Flying Locksmiths franchise
                      that is contrary to, or different from, the information contained in the Disclosure Document?
                       NO


             15.      Have you paid any money to the Franchisor concerning the purchase of this franchise prior to
                      today?
                       Yes

             16.      If you have answered "Yes" to any of questions 9 through 15, please provide a full explanation of
                      your answer in the following blank lines. (Attach additional pages, if necessary, and refer to them
                      below.) If you have answered "no" to each of the foregoing questions, please leave the following
                      lines blank. - - - - - , - - - , - - - - - - - - , - - - - - , = - - - - - , - - - - - , - - - , . . . , , - - - , , - - - - , - - - - - -
                       Number 15. Yes, with respect to the fact that I made a $20,000 down oayment to today (Dec.




             YOU UNDERSTAND THAT YOUR ANSWERS ARE IMPORTANT TO US AND WE WILL RELY
             ON THEM. BY SIGNING THIS QUESTIONNAIRE, YOU ARE REPRESENTING THAT YOU HAVE
             RESPONDED TRUTHFULLY TO THE ABOVE Q ~ , .
              Date:     12/12/2018                                           ~
                                                                             --P-roops'"'p~eclftfltlfiflV~~~,t!ll;>-an-c-h-is_e_e_ _ _ __
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                                                                                                  Exhibit A-2



                                        AMENDMENT TO FRANCHISE AGREEMENT



    THIS AMENDMENT TO FRANCHISE AGREEMENT is made and entered into 12 112 12018                           by and
    between TFL Franchise Systems, LLC, a Massachusetts limited liability company with its principal place of business
    at 100 Grossman Ave., Braintree, MA 02184 (hereinafter referred to as "Franchisor") and Black 13 Enterprise :
    hereinafter referred to as ("Franchisee").

                                                             WITNESSETH

    WHEREAS, Franchisor and Franchisee desire to enter into a franchise agreement of even date herewith with respect
    to the operation of a business which provides locksmith and security services and products for commercial, residential,
    and automotive customers under the name "The Flying Locksmiths" (hereinafter "the Franchise Agreement");

    WHEREAS, Franchisee is not willing to enter into the Franchise Agreement unless it is modified as set forth herein;
    and

    WHEREAS, Franchisor and Franchisee have agreed to amend the Franchise Agreement as set forth herein as a
    condition to entering into the Franchise Agreement and, therefore, if there is a conflict between this Amendment and
    the Franchise Agreements, this Amendment will prevail.

    NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter set forth, and other good
    and valuable consideration the receipt and sufficiency of which is hereby acknowledged, the parties do hereby agree as
    follows:




                l . Acquisition of Territory- Franchisee shall acquire the territory known as DFW #1.
                     (see attached map).
                    The population base of 1,403,340 X .12 for a total Franchise Fee of
                    $159,980.76 which includes a 5% veteran's discount. Franchisee shall
                    pay a non-refundable down payment of $20,000 of the total franchise
                    fee with the balance due of $139,980.76 upon its funding which is
                    expected to occur on or before Dec. 15 2018 and paid within 72 hours of
                    funding.
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                                                                                                   Exhibit A-2



                     FRANCHISEE:       Black 13 Enterprise, Inc.




                                                       Its: owner/President




                                                       FRANCHISOR:

                                                       TFL FRANCHISE SYSTEMS, LLC.,
                                                       a Massachusetts limited liability company

                                                                 DocuSigned by.


                                                       By:
                                                                ~~ ·err fv..(fa._1:Ni fvJJ.IJ
                                                             - =F'3ll3=nnwmr--::----7------:----
                                                                       aut onzed signature)
                                                       Name: BRE          MCMENIMO~
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                                                                                                  Exhibit A-2
              EOMETRX
                                               Custom Component Detail

                                                             DFW#1
 Analysis Level: ZIP                                                                                  10/22/201811 :37:05AM




                                                                               Longitude: -97.595208
                                                                                  Latitude: 32.481237
 1 DFW                                                               Trade Area built from components




                                                                                      C>verlays
                                                                                          State
                                                                                          Terrilory
                                                                                          Major Highway
                                                                                          Highway
                                                                                          MSA
                                                                                          Slate Boundary

                                                                               Total Establishments
                                                                               c:::J Oto 400
                                                                               . - - , 400 to 660
                                                                          Midlolh L---1
                                                                               c:::J 660 to 1040
                                                                                          1040 to 1480
                                                                               -          1480 to 250D




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                                                                                      Exhibit A-2
                                                                        E•!•1~1n1p,!•1~1,11
 76044 4.56      Godley         TX                      3,946       133 Johnson
 76049 5.80      Granbury       TX                     27,579       922 Hood       Parker
 76035 5.94      Cresson        TX                      1,688        47 Hood       Parker
 76058 9.63      Joshua         TX                     18,371       400 Johnson
  76126 12.15     Fort Worth    TX                     22,300       629 Tarrant    Parker
 76048 12.78     Granbury       TX                     24,491      1,219 Hood      Somervell
  76036 13.28     Crowley       TX                     26,348       510 Tarrant    Johnson
  76008 14.49    Aledo          TX                     16,699       458 Parker     Tarrant
  76123 14.57     Fort Worth    TX                     33,754       245 Tarrant
  76033 15.44    Cleburne       TX                     25,545      1,075 Johnson   Somervell
  76059 16.88     Keene         TX                      4,821       110 Johnson
  76132 16.94     Fort Worth    TX                     26,327      1,419 Tarrant
  76031 17.05     Cleburne      TX                     17,818       776 Johnson
  76028 17.56     Burleson      TX                     70,1 76     2,116 Johnson   Tarrant
  76133 17.67     Fort Worth    TX                     51 ,950     1,221 Tarrant
  76087 18.74    Weatherford    TX                     30,215       872 Parker     Hood
  76116 18.88     Fort Worth    TX                     52,081      2,413 Tarrant
  76134 18.88     Fort Worth    TX                     25,806       511 Tarrant
  76109 19.36     Fort Worth    TX                     23,930      1,477 Tarrant
  76122 20.00     Fort Worth    TX                           260       7 Tarrant
  76140 20.75     Fort Worth    TX                     30,243       894 Tarrant
  76129 20.80     Fort Worth    TX                      2,384        26 Tarrant
  76115 20.90     Fort Worth    TX                     21 ,853      463 Tarrant
  76086 21 .71    Weatherford   TX                     20,050      1,571 Parker
  76110 21 .77    Fort Worth    TX                     32,631      1,828 Tarrant
  76009 22.87     Alvarado      TX                     21 ,236      459 Johnson
  76104 23.77     Fort Worth    TX                     19,103      1,903 Tarrant
  76119 24.00     Fort Worth    TX                     46,533      1,125 Tarrant
  76060 24.87     Kennedale      TX                     8,233       381 Tarrant
  76105 25.54     Fort Worth     TX                    24,485       469 Tarrant
  76085 25.58     Weatherford   TX                     11 ,641      218 Parker
  76001 27.65     Arlington     TX                     32,326       658 Tarrant
  76016 27.67     Arlington      TX                    31 ,820      856 Tarrant
  76017 27.78     Arlington      TX                    46,132      1,273 Tarrant
  76063 28.10     Mansfield      TX                    72,192      2,497 Tarrant   Johnson
  76112 28.99     Fort Worth     TX                    43,770      1,399 Tarrant
  76013 30.22     Arlington      TX                    32,560      1,980 Tarrant
  76015 30.65     Arlington      TX                    17,548      1,448 Tarrant
  76088 30.84     Weatherford    TX                    12,259       375 Parker
  76120 31 .03    Fort Worth     TX                    17,528       351 Tarrant
  76118 32.22     Fort Worth     TX                    15,564       559 Tarrant
  76014 32.92     Arlington      TX                    36,181       805 Tarrant
  76053 33.46     Hurst          TX                    30,063      1,505 Tarrant
  76012 33.49     Arlington      TX                    27,535      1,041 Tarrant
  76010 34.41     Arlington      TX                    60,928      1,438 Tarrant
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                                                                         PageWise
                                                                 416 Parker
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                                                                                        Exhibit A-2
 76011 35.73      Arlington      TX                     26,366       1,890 Tarrant
 76022 35.75      Bedford        TX                     13,768         559 Tarrant
 76054 35.86      Hurst          TX                     12,118         882 Tarrant
 76006 36.31      Arlington      TX                     26,039         868 Tarrant
 76040 36.74      Euless         TX                     30,227       1,024 Tarrant
  76005 36.79     Arlington      TX                           978       13 Tarrant
 76021 37.16      Bedford        TX                     35,603       1,406 Tarrant




                                                                              --
 76067 37.43      Mineral Wells TX                      20,118         844 Palo Pinto Parker
 ithMI_ _ _                                          1,403 ,340     49 ,984

 Total number of records: 54
